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Estes Express Lines

OPEN ACCESS PLUS MEDICAL
BENEFITS

PLAN OP'I`ION 2

EFFECTIVE DATE: January l, 2012

ASOZ-00506
3335115

This document printed in February, 2012 takes the place of any documents previously issued to you which
described your benefits.

Printed in U.S.A.

EXHIB|T

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Important Information

THIS IS NOT AN INSURED BENEFIT PLAN, THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY ESTES EXPRESS LINES WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CONNECTICUT GENERAL PROVIDES CLAIM
ADMINISTRATION SERVICES TO THE PLAN, BUT CONNECTICUT GENERAL DOES NOT INSURE
THE BENEFITS DESCRIBED.

THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CONNECTICUT
GENERAL. BECAUSE THE PLAN IS NOT INSURED BY CONNECTICUT GENERAL, ALL
REFERENCES TO INSURANCE SHALL BE READ TO INDICATE THAT THE PLAN IS SELF-INSURED.
FOR EXAMPLE, REFERENCES TO "CG," "INSURANCE COMPANY," AND "POLICYHOLDER" SHALL
BE DEEMED TO MEAN YOUR "EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO
MEAN "COVERED" AND "INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

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Explanation of Terms

You will find terms starting with capital letters throughout your certificate 'I`o help you understand your benefits, most of these terms
are defined in the Def`mitions section of your certificate

The Schedule

The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.

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Special Plan Provisions

When you select a Participating Provider, this Plan pays a
greater share of the costs than if you select a non-Participating
Provider, Participating Providers include Physicians, Hospitals
and Other Health Care Professionals and Other Health Care
Facilities. Consult your Physician Guide for a list of
Participating Providers in your area. Participating Providers
are committed to providing you and your Dependents
appropriate care while lowering medical costs.

Services Available in Conjunction With Your Medical
Plan

The following pages describe helpful services available in
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of
your ID card.

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CIGNA'S Toll-Free Care Line

CIGNA's toll-free care line allows you to talk to a health care
professional during normal business hours, Monday through
Friday, simply by calling the toll-free number shown on your
ID card.

CIGNA's toll-free care line personnel can provide you with the
names of Participating Providers. If you or your Dependents
need medical care, you may consult your Physician Guide
which lists the Participating Providers in your area or call
CIGNA's toll-free number for assistance If you or your
Dependents need medical care while away from home, you
may have access to a national network of Participating
Providers through CIGNA's Away-From-Home Care feature.
Call CIGNA's toll-free care line for the names of Participating
Providers in other network areas. Whether you obtain the
name of a Participating Provider from your Physician Guide or
through the care line, it is recommended that prior to making
an appointment you call the provider to confirm that he or she
is a current participant in the Open Access Plus Program.

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Case Management

Case Management is a service provided through a Review
Organization, which assists individuals with treatment needs
that extend beyond the acute care setting. The goal of Case
Management is to ensure that patients receive appropriate care
in the most effective setting possible whether at home, as an
outpatient, or an inpatient in a Hospital or specialized facility.
Should the need for Case Management arise, a Case
Management professional will work closely with the patient,
his or her family and the attending Physician to determine
appropriate treatment options which will best meet the
patient's needs and keep costs manageable. The Case Manager
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to

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answer questions and provide ongoing support for the family
in times of medical crisis.

Case Managers are Registered Nurses (RNs) and other
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your Dependent. In addition, Case Managers are supported by
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the
Case Manager recommends alternate treatment programs and
helps coordinate needed resources, the patient's attending
Physician remains responsible for the actual medical care.

1. You, your dependent or an attending Physician can
request Case Management services by calling the toll-free
number shown on your ID card during normal business
hours, Monday through Friday. In addition, your
employer, a claim office or a utilization review program
(see the PAC/CSR section of your certificate) may refer
an individual for Case Management.

2. The Review Organization assesses each case to determine
whether Case Management is appropriate

3. You or your Dependent is contacted by an assigned Case
Manager who explains in detail how the program works.
Participation in the program is voluntary - no penalty or
benefit reduction is imposed if you do not wish to
participate in Case Management.

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4. Following an initial assessment, the Case Manager works
with you, your farnin and Physician to determine the
needs of the patient and to identify what alternate
treatment programs are available (for example, in-home
medical care in lieu of an extended Hospital
convalescence). You are not penalized if the alternate
treatment program is not followed.

5. The Case Manager arranges for alternate treatment
services and supplies, as needed (for example, nursing
services or a Hospital bed and other Durable Medical
Equipment for the home).

6. The Case Manager also acts as a liaison between the
insurer, the patient, his or her family and Physician as
needed (for example, by helping you to understand a
complex medical diagnosis or treatment plan).

7. Once the alternate treatment program is in place, the Case
Manager continues to manage the case to ensure the
treatment program remains appropriate to the patient's
needs.

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While participation in Case Management is strictly voluntary,
Case Management professionals can offer quality, cost-
effective treatment altematives, as well as provide assistance
in obtaining needed medical resources and ongoing family
support in a time of need.

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Additional Programs

We may, from time to time, offer or arrange for various
entities to offer discounts, benefits, or other consideration to
our members for the purpose of promoting the general health
and well being of our members. We may also arrange for the
reimbursement of all or a portion of the cost of services
provided by other parties to the Policyholder. Contact us for
details regarding any such arrangements

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Important Information About Your Medical
Plan

Details of your medical benefits are described on the
following pages.

Opportunity to Select a Primary Care Physician
Choice of Primarv Care thsician:

This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by CG
for yourself and your Dependents. If you choose to select a
Primary Care Physician, the Primary Care Physician you
select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.

Changing Primg Care Physicians:

You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.

In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.

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Important Notices

Notice of Grandfathered Plan Status

This plan is being treated as a “grandfathered health plan”
under the Patient Protection and Affordable Care Act (the
Affordable Care Act). As permitted by the Affordable Care
Act, a grandfathered health plan can preserve certain basic
health coverage that was already in effect when that law was
enacted. Being a grandfathered health plan means that your
coverage may not include certain consumer protections of the
Affordable Care Act that apply to other plans, for example, the
requirement for the provision of preventive health services
without any cost sharing. However, grandfathered health plans
must comply with certain other consumer protections in the
Affordable Care Act, for example, the elimination of lifetime
limits on benefits.

Questions regarding which protections apply and which
protections do not apply to a grandfathered health plan and
what might cause a plan to change from grandfathered health
plan status can be directed to the plan administrator at the
phone number or address provided in your plan documents, to
your employer or plan sponsor or an explanation can be found
on CIGNA’s website at
http://www.Cigna.com/sites/healthcare_reform/customer.html.

If your plan is subject to ERISA, you may also contact the
Employee Benefits Security Administration, U.S. Department
of Labor at 1-866-444-3272 or
www.dol.gov/ebsa/healthreform. This website has a table
summarizing which protections do and do not apply to
grandfathered health plans.

If your plan is a nonfederal government plan or a church plan,

you may also contact the U.S. Department of Health and
Human Services at www.heatlthcare.gov.

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How To File Your Claim

The prompt filing of any required claim form will result in
faster payment of your claim.

You may get the required claim forms from your Benefit Plan
Administrator. All fully completed claim forms and bills
should be sent directly to your servicing CG Claim Office.

Depending on your Group Insurance Plan benefits, file your
claim forms as described below.
Hospital Conf`inement

If possible, get your Group Medical Insurance claim form
before you are admitted to the Hospital. This form will make
your admission easier and any cash deposit usually required
will be waived.

If you have a Benefit Identification Card, present it at the
admission office at the time of your admission. The card tells
the Hospital to send its bills directly to CG.

Doctor's Bills and Other Medical Expenses

The first Medical Claim should be filed as soon as you have
incurred covered expenses. Itemized copies of your bills

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should be sent with the claim form. If you have any additional
bills after the first treatment, file them periodically.

CLAIM REMINDERS

. BE SURE TO USE YOUR MEMBER ID AND
ACCOUNT NUMBER WHEN YOU FILE CG'S CLAIM
FORMS, OR WHEN YOU CALL YOUR CG CLAIM
OFFICE.

YOUR MEMBER ID IS THE ID SHOWN ON YOUR
BENEFIT IDENTIFICATION CARD.

YOUR ACCOUNT NUMBER IS THE 7-DIGIT POLICY
NUMBER SHOWN ON YOUR BENEFIT
IDENTIFICATION CARD.

¢ PROMPT FILING OF ANY REQUIRED CLAIM FORMS
RESULTS IN FASTER PAYMENT OF YOUR CLAIMS.

WARNING: Any person who knowingly presents a false or
fraudulent claim for payment of a loss or benefit is guilty of a
crime and may be subject to fines and confinement in prison.

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Accident and Health Provisions
Timely Filing of Out-of-Network Claims

CG will consider claims for coverage under our plans when
proof of loss (a claim) is submitted within 180 days for Out-
of-Network benefits after services are rendered. If services are
rendered on consecutive days, such as for a Hospital
Confinement, the limit will be counted from the last date of
service. If claims are not submitted within 180 days for Out-
of-Network benefits, the claim will not be considered valid
and will be denied.

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Eligibility - Ef'f`ective Date

Eligibility for Employee Insurance

You will become eligible for insurance on the day you
complete the waiting period if:

o you are in a Class of Eligible Employees; and
o you are an eligible, regular full-time Employee; and
o you normally work at least 40 hours a week.

If you are a regular, full-time employee and your hours are
reduced from 40 hours per week to not less than 30 hours per
week (as a result of schedule reductions initiated by the
company), you will be eligible for coverage for up to 12
months from the date your schedule is first changed

If you were previously insured and your insurance ceased, you
must satisfy the New Employee Group Waiting Period to
become insured again. If your insurance ceased because you
were no longer employed in a C|ass of Eligible Employees,
you are not required to satisfy any waiting period if you again
become a member of a Class of Eligib|e Employees within
one year after your insurance ceased.

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Initia| Employee Group: You are in the Initial Employee
Group if you are employed in a class of employees on the date
that class of employees becomes a C|ass of Eligible
Employees as determined by your Employer.

New Employee Group: You are in the New Employee Group
if you are not in the Initia| Employee Group.

Eligibility for Dependent Insurance

You will become eligible for Dependent insurance on the later
of:

o the day you become eligible for yourse|f; or
o the day you acquire your first Dependent.

Waiting Period
Initial Employee Group: None.
New Employee Group: You are eligible to participate on the

first day of the month following 90 days ofcontinuous, filli~
time employment during which you are actively at work.

Classes of Eligible Employees

Each Employee as reported to the insurance company by your
Employer.

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Employee Insurance

This plan is offered to you as an Employee. To be insured, you
will have to pay part of the cost.

Effective Date of Your Insurance

You will become insured on the date you elect the insurance
by signing an approved payroll deduction form, but no earlier
than the date you become eligible, If you are a Late Entrant,
your insurance will not become effective until CG agrees to
insure you. You will not be denied enrollment for Medical
Insurance due to your health status.

You will become insured on your first day of eligibility,

following your election, if you are in Active Service on that

date, or if you are not in Active Service on that date due to

your health status. However, you will not be insured for any

loss of life, dismemberment or loss of income coverage until

you are in Active Service.

Late Entrant - Employee

You are a Late Entrant if:

o you elect the insurance more than 30 days after you become
eligible; or

o you again elect it after you cancel your payroll deduction.

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Dependent Insurance

For your Dependents to be insured, you will have to pay part
of the cost of Dependent Insurance.

Ef`fective Date of Dependent Insurance

Insurance for your Dependents will become effective on the
date you elect it by signing an approved payroll deduction
form, but no earlier than the day you become eligible for
Dependent Insurance, All of your Dependents as defined will
be included.

If you are a Late Entrant for Dependent Insurance, the
insurance for each of your Dependents will not become
effective until CG agrees to insure that Dependent. Your
Dependent will not be denied enrollment for Medical
Insurance due to health status.

Your Dependents will be insured only if you are insured,
Late Entrant - Dependent
You are a Late Entrant for Dependent Insurance if:

o you elect that insurance more than 30 days after you
become eligible for it; or

o you again elect it after you cancel your payroll deduction.
Exception for Newborns

Any Dependent child born while you are insured for Medical
Insurance will become insured for Medical Insurance on the
date of his birth if you elect Dependent Medical Insurance
within 31 days after his birth. If you do not elect to insure your
newborn child within such 31 days, no benefits for expenses
incurred will be payable.

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Open Access Plus Medical Benefits

The Schedule

 

For You and Your Dependents

Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies, That portion is the Copayment, Deductible or Coinsurance.

If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.

 

 

Coinsurance

The term Coinsurance means the percentage of charges for Covered Expenses that an insured person is required to pay
under the plan.

Copayments/Deductibles

Copayments are expenses to be paid by you or your Dependent for covered services. Deductibles are also expenses to be
paid by you or your Dependent. Deductible amounts are separate from and not reduced by Copayments. Copayments and
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your farnin need not satisfy any further medical deductible for the rest of that year.

 

Out-of-Pocket Expenses

Out-of-Pocket Expenses are Covered Expenses incurred for In-Network and Out-of-Network charges that are not paid by
the benefit plan because of any:

o Coinsurance.
Charges will not accumulate toward the Out-of-Pocket Maximum for Covered Expenses incurred for:

o non-compliance penalties.

» provider charges in excess of the Maximum Reimbursable Charge.
When the Out-of-Pocket Maximum shown in The Schedule is reached, Injury and Sickness benefits are payable at 100%
except for:

o non-compliance penalties.

~ provider charges in excess of the Maximum Reimbursable Charge.

Copays will continue to apply once the Out-of-Pocket Maximum has been met.

 

Accumulation of Plan Deductibles and Out-of-Pocket Maximums

Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.

 

Multiple Surgical Reduction

Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.

 

Assistant Surgeon and Co-Surgeon Charges

Assistant Su rgeon

The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed 20 percent of
the surgeon’s allowable charge. (For purposes of this limitation, allowable charge means the amount payable to the
surgeon prior to any reductions due to coinsurance or deductible amounts).

Co-Surgeon

The maximum amount payable will be limited to 62.5 percent of the surgeon’s allowable charge. (For purposes of this
limitation, allowable charge means the amount payable to the surgeons prior to any reductions due to coinsurance or
deductible amounts.)

 

 

 

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lN-NETWORK

OUT-OF-N ET\\"ORI'\'

 

Lifetime Maximum

Unlimited

 

Calendar Year Maximum on
Essential Benefits

$1 ,250,000

 

Coinsurance Levels

80%

50% of the Maximum Reimbursable
Charge

 

Maximum Reimbursable Charge

Maximum Reimbursable Charge is
determined based on the lesser of the
provider’s normal charge for a similar
service or supply; or

A percentile of charges made by
providers of such service or supply in
the geographic area where the service is
received. These charges are compiled in
a database we have selected.

Note:

The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles, copayments and
coinsurance.

Not Applicable

80th Percentile

 

Calendar Year Deductible
Individual
Family Maximum

Family Maximum Calculation
Individual Calculation:

Family members meet only their
individual deductible and then their
claims will be covered under the plan
coinsurance; if the family deductible
has been met prior to their individual
deductible being met, their claims
will be paid at the plan coinsurance.

$150 per person
$450 per family

$400 per person
$1,200 per family

 

 

Out-of-Pocket Maximum
Individual
Family Maximum

Family Maximum Calculation
Individual Calculation:

Family members meet only their
individual Out-of-Pocket and then
their claims will be covered at 100%;
if the family Out-of-Pocket has been
met prior to their individual Out-of-
Pocket being met, their claims will
be paid at 100%.

 

$2,500 per person
$5,000 per family

 

$6,000 per person
$12,000 per family

 

 

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BENEFIT HlGl-ILIGHTS

 

Physician’s Services for Injury or
Illness

Specialty Care Physician’s Office
Visits
Consultant and Referral
Physician’s Services

Note:

OB/GYN providers will be
considered either as a PCP or
Specialist, depending on how

Insurance Company.

Surgery Performed In the
Physician’s Office

Second Opinion Consultations
(provided on a voluntary basis)

Allergy Treatment/Injections

Allergy Serum (dispensed by the
Physician in the office)

 

Primary Care Physician’s Office visit

the provider contracts with the

IN-i\'ET\\/ORI{

 

No charge after $20 per office visit
copay

No charge after $35 Specialist per
office visit copay

No charge after the $20 PCP or $35
Specialist per office visit copay

No charge after the $20 PCP or $35
Specialist per office visit copay

No charge afier either the $20 PCP or
$35 Specialist per office visit copay
or the actual charge, whichever is
less

No charge

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OUT-OF-N ET\\’ORI\'

 

   

50% after plan deductible

50% after plan deductible

50% after plan deductible

50% after plan deductible

50% after plan deductible

50% after plan deductible

 

Preventive Care

immunizations)

Physician’s Office Visit (including

No charge after the $20 PCP or $35
Specialist per office visit copay

In-Network coverage only

 

Mammograms, PSA, PAP Smear

Preventive Care Related Services
(i.e. “routine” services)

Diagnostic Related Services
(i.e. “non-routine” services)

No charge after the $20 PCP or
Specialist per office visit copay

No charge for services performed in
an Outpatient Facility

No charge after the $20 PCP or
Specialist per office visit copay
80% after plan deductible for
services performed in an Outpatient
Facility or an Independent Facility

50% after plan deductible

50% after plan deductible

 

Semi-Private Room and Board
Private Room

Special Care Units (ICU/CCU)

 

Inpatient Hospital - Facility Services

 

$300 per admission copay, then 80%
after plan deductible

Limited to the semi-private room
negotiated rate

Limited to the semi-private room
negotiated rate

Limited to the negotiated rate

 

50% after plan deductible

Limited to the semi-private room rate
Limited to the semi-private room rate

Limited to the ICU/CCU daily room
rate

 

 

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BENEF|T HIGHLIGHTS IN-l\'ET\\/OR|'\' OUT-OF-NET\VORK

       

 

Outpatient Facility Services

Operating Room, Recovery Room, 80% after plan deductible 50% after plan deductible
Procedures Room, Treatment Room
and Observation Room

 

Inpatient Hospital Physician’s 80% after plan deductible 50% after plan deductible
Visits/Consultations

 

Inpatient Hospital Professional No charge 50% after plan deductible
Services
Surgeon
Radiologist
Pathologist
Anesthesiologist

 

Outpatient Professional Services 80% after plan deductible 50% after plan deductible

Surgeon
Radiologist
Pathologist
Anesthesiologist

 

 

Emergency and Urgent Care
Services

Physician’s Office Visit No charge after the $20 PCP or $35 Specialist per office visit copay
Hospital Emergency Room 80% after plan deductible

Outpatient Professional services 80% after plan deductible
(radiology, pathology and ER
Physician)

X-ray and/or Lab performed at the 80% after plan deductible
Emergency Room (billed by the
facility as part of the ER visit)

Independent x-ray and/or Lab 80% after plan deductible
Facility in conjunction with an ER
visit

Advanced Radiological Imaging (i.e. 80% after plan deductible
MRIs, MRAs, CAT Scans, PE'I`

Scans etc.) (billed by the facility as
part of the ER visit)

Urgent Care Facility or Outpatient No charge after $20 per visit copay*
Facility

*waived if admitted

X-ray and/or Lab performed at the No charge
Urgent Care Facility (billed by the
facility as part of the UC visit)

Independent x-ray and/or Lab No charge
Facility in conjunction with an UC
visit

Advanced Radiological Imaging (i.e. No charge
MRIs, MRAs, CA'I` Scans, PET
Scans etc.) (billed as part of the
Urgent Care visit)

Ambulance 80% after plan deductible

 

 

 

 

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BENEFIT HIGHLIGHTS

 

Inpatient Services at Other Health
Care Facilities
Includes Skilled Nursing Facility,

Rehabilitation Hospital and Sub-
Acute Facilities

Calendar Year Maximum:
100 days combined

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80% alter plan deductible

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50% alter plan deductible

 

Laboratory and Radiology Services
(includes pre-admission testing)

Physician’s Office Visit

Outpatient Hospital Facility

Independent X-ray and/or Lab
Facility

No charge alter the $20 PCP or $35
Specialist per office visit copay

No charge
No charge

50% alter plan deductible

50% alter plan deductible
50% after plan deductible

 

Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)

Physician’s Office Visit

Inpatient Facility
Outpatient Facility

No charge alter the $20 PCP or $35
Specialist per office visit copay

No charge
No charge

50% aher plan deductible

50% after plan deductible
50% after plan deductible

 

Outpatient Short-Term
Rehabilitative Therapy

Calendar Year Maximum:
60 days for all therapies combined

Includes:

Physical Therapy
Speech Therapy
Occupationa| Therapy
Pulmonary Rehab
Cognitive Therapy

No charge alter the $20 PCP or $35
Specialist per office visit copay

Note:

Outpatient Short Term Rehab copay
applies, regardless of place of
service, including the home.

50% after plan deductible

 

Early Intervention Services for
children through age 2

Calendar Year Maximum:
$5,000

No charge alter the $20 PCP or $35
Specialist per office visit copay

80% aher plan deductible for
services performed in an Outpatient
Facility

50% after plan deductible

 

Outpatient Cardiac Rehabilitation

Calendar Year Maximum:
36 days

No charge after the $20 PCP or $35
Specialist per office visit copay

80% aher plan deductible for
services performed in an Outpatient
Facility

50% after plan deductible

 

Chiropractic Care

Calendar Year Maximum:
30 days

No charge alter the $20 PCP or $35
Specialist per office visit copay

50% alter plan deductible

 

 

Home Health Care

Calendar Year Maximum:
90 days

 

80% after plan deductible

 

50% after plan deductible

 

 

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Outpatient Private Duty Nursing

Calendar Year Maximum:
$500

80% after plan deductible

80% after plan deductible

 

Hospice
Inpatient Services

Outpatient Services

(same coinsurance level as Home
Health Care)

80% after plan deductible
80% after plan deductible

50% after plan deductible
50% after plan deductible

 

Bereavement Counseling

Services provided as part of Hospice
Care

Inpatient
Outpatient

Services provided by Mental Health
Professional

80% after plan deductible
80% after plan deductible
Covered under Mental Health Benefit

50% after plan deductible
50% after plan deductible
Covered under Mental Health Benefit

 

Maternity Care Services

Limited to Employees and Dependent
Spouses

Initial Visit to Confirm Pregnancy

Note:

OB/GYN providers will be
considered either a PCP or Specialist
depending on how the provider
contracts with the Insurance
Company.

All subsequent Prenatal Visits,
Postnatal Visits and Physician’s
Delivery Charges (i.e. global
matemity fee)

Physician’s Office Visits in addition
to the global maternity fee when
performed by an OB/GYN or
Specialist

Delivery - Facility
(Inpatient Hospital, Birthing Center)

No charge after the $20 PCP or $35
Specialist per office visit copay

No charge

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
after plan deductible

50% after plan deductible

50% after plan deductible

50% after plan deductible

50% after plan deductible

 

 

Abortion
Includes only non-elective procedures

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

 

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
after plan deductible

80% after plan deductible
80% after plan deductible

 

50% after plan deductible

50% after plan deductible

50% after plan deductible
50% after plan deductible

 

 

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BENEFIT HIGHLlGl-{TS

 

Family Planning Services

Office Visits, Lab and Radiology
Tests and Counseling

Note:

Coverage does not include
contraceptive devices (e.g. Depo-
Provera and Intrauterine Devices
(IUDs) and Diaphragms.

Surgica| Steri|ization Procedure for
Vasectomy/Tubal Ligation (excludes
reversals)

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

 

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No charge after the $20 PCP or $35
Specialist per office visit copay

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
affer plan deductible

80% after plan deductible
80% after plan deductible

 

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50% after plan deductible

50% affer plan deductible
50% after plan deductible

50% after plan deductible
50% after plan deductible

 

Infertility Treatment

condition).

GIFT, ZIFT, etc.)

Coverage will be provided for the following services:

o Testing performed specifically to determine the cause of infertility.

o Testing and treatment services performed in connection with an underlying medical condition.

o Treatrnent and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility

Surgical Treatment: Limited to procedures for the correction of infertility (exc|udes Artificial Insemination, In-vitro,

 

Physician’s Office Visit (Lab and
Radiology Tests, Counseling)

Inpatient Facility

Outpatient Facility

Physician’s Services

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
after plan deductible

80% after plan deductible
80% affer plan deductible

In-Network coverage only

In-Network coverage only

In-Network coverage only
In-Network coverage only

 

Organ Transplants
Includes all medically appropriate, non-
experimental transplants

Physician’s Office Visit

Inpatient Facility

Physician’s Services

Lifetime Travel Maximum:
$10,000 per transplant

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then
100% at Lifesource center, otherwise
$300 per admission copay, then 80%
after plan deductible

100% at Lifesource center, otherwise
80% after plan deductible

No charge (on|y available when
using Lifesource facility)

In-Network coverage only

In-Network coverage only

In-Network coverage only

In-Network coverage only

 

Durable Medical Equipment

Calendar Year Maximum:
Unlimited

 

 

80% after plan deductible

 

50% affer plan deductible

 

 

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BENEFIT HIGHLIGHTS

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External Prosthetic Appliances

Calendar Year Maximum:
Unlimited

80% affer plan deductible

50% after plan deductible

 

Nutritional Evaluation

Calendar Year Maximum:
3 visits per person

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

No charge affer the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
affer plan deductible

80% after plan deductible
80% affer plan deductible

50% affer plan deductible
50% after plan deductible

50% after plan deductible
50% after plan deductible

 

Dental Care

Limited to charges made for a
continuous course of dental treatment
started within sixty days of an injury to
sound, natural teeth.

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
affer plan deductible

80% after plan deductible
80% affer plan deductible

50% after plan deductible

50% after plan deductible

50% affer plan deductible
50% after plan deductible

 

 

Oral Surgery

Orthognathic surgery that is required
because of a medical condition or
injury which prevents normal function
of thejoint or bone and is deemed
medically necessary to attain functional
capacity of the affected part.

Treatrnent of medically diagnosed cleft
lip, cleff palate, or ectodennal
dysplasia.

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

 

No charge alter the $20 PCP or
Specialist per office visit copay

$150 per admission copay, then 80%
after plan deductible

80% alter plan deductible
80% affer plan deductible

 

50% after plan deductible
50% after plan deductible

50% after plan deductible
50% affer plan deductible

 

 

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BENEFIT HIGHLIGHTS

  

Bariatric Surgery

Note:

Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
SPD.

Physician’s Office Visit

Inpatient Facility

Outpatient Facility

Physician’s Services

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No charge after the $20 PCP or $35
Specialist per office visit copay

$300 per admission copay, then 80%
affer plan deductible

80% after plan deductible

80% after plan deductible

   

 

OUT-OF-NET\\"ORI\'

 

In-Network coverage only

In-Network coverage only

In-Network coverage only

In-Network coverage only

 

Routine Foot Disorders

 

 

Not covered except for services
associated with foot care for diabetes
and peripheral vascular disease.

 

Not covered except for services
associated with foot care for diabetes
and peripheral vascular disease.

 

 

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BENEFIT H|GHLIGHTS

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Treatment Resulting From Life Threatening Emergencies

Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance abuse expense will be determined by the utilization
review Physician in accordance with the applicable mixed services claim guidelines

 

Mental Health

Inpatient

Inpatient professional services

Outpatient (Includes Individual,
Group and lntensive Outpatient)

Physician’s Office Visit
Outpatient Facility

$300 per admission copay, then 80%
after plan deductible

80% aRer plan deductible

$20 per visit copay
$20 per visit copay

50% after plan deductible

50% after plan deductible

50% after plan deductible
50% after plan deductible

 

Substance Abuse

Inpatient

Inpatient professional services

Outpatient (Includes Individual and
lntensive Outpatient)

Physician’s Office Visit
Outpatient Facility

 

 

$300 per admission copay, then 80%
affer plan deductible

80% after plan deductible

$20 per visit copay
$20 per visit copay

 

50% after plan deductible

50% aRer plan deductible

50% aRer plan deductible
50% after plan deductible

 

 

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Open Access Plus Medical Benefits

Certification Requirements - Out-of-Network
For You and Your Dependents

Pre-Admission Certification/Continued Stay Review for
Hospital Confinement

Pre-Admission Certification (PAC) and Continued Stay
Review (CSR) refer to the process used to certify the Medical
Necessity and length of a Hospital Confinement when you or
your Dependent require treatment in a Hospital:

o as a registered bed patient;

o for a Partial Hospitalization for the treatment of Mental
Health or Substance Abuse;

o for Mental Health or Substance Abuse Residential
Treatrnent Services.

You or your Dependent should request PAC prior to any non-
emergency treatment in a Hospital described above. In the
case of an emergency admission, you should contact the
Review Organization within 48 hours affer the admission. For
an admission due to pregnancy, you should call the Review
Organization by the end of the third month of pregnancy. CSR
should be requested, prior to the end of the certified length of
stay, for continued Hospital Confinement.

Covered Expenses incurred will be reduced by 50% for

Hospital charges made for each separate admission to the

Hospital:

o unless PAC is received: (a) prior to the date of admission; or
(b) in the case of an emergency admission, within 48 hours
after the date of admission,

Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed
below will not include:

o Hospital charges for Bed and Board, for treatment listed
above for which PAC was performed, which are made for
any day in excess of the number of days certified through
PAC or CSR; and

. any Hospital charges for treatment listed above for which
PAC was requested, but which was not certified as
Medically Necessary.

GM6000 PACl V33

PAC and CSR are performed through a utilization review
program by a Review Organization with which CG has
contracted.

In any case, those expenses incurred for which payment is
excluded by the terms set forth above will not be considered as
expenses incurred for the purpose of any other part of this
plan, except for the "Coordination of Benefits" section.

GM6000 PACZ V9

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Outpatient Certification Requirements - Out-of-
Network

Outpatient Certification refers to the process used to certify
the Medical Necessity of outpatient diagnostic testing and
outpatient procedures, including, but not limited to, those
listed in this section when performed as an outpatient in a
Free-standing Surgical Facility, Other Health Care Facility or
a Physician’s office. You or your Dependent should call the
toll-free number on the back of your I.D. card to determine if
Outpatient Certification is required prior to any outpatient
diagnostic testing or procedures, Outpatient Certification is
performed through a utilization review program by a Review
Organization with which CG has contracted. Outpatient
Certification should only be requested for nonemergency
procedures or services, and should be requested by you or
your Dependent at least four working days (Monday through
Friday) prior to having the procedure performed or the service
rendered.

Covered Expenses incurred will be reduced by 50% for
charges made for any outpatient diagnostic testing or
procedure performed unless Outpatient Certification is
received prior to the date the testing or procedure is
performed.

Covered Expenses incurred will not include expenses incurred
for charges made for outpatient diagnostic testing or
procedures for which Outpatient Certification was performed,
but, which was not certified as Medically Necessary.

In any case, those expenses incurred for which payment is
excluded by the terms set forth above will not be considered as
expenses incurred for the purpose of any other part of this
plan, except for the "Coordination of Benefits" section.

Diagnostic Testing and Outpatient Procedures
Including, but not limited to:

Advanced radiological imaging - CT Scans, MRI, MRA or
PET scans.

Hysterectomy.
GM6000 SC| PAC-1 OCRSVS

Prior Authorization/Pre-Authorized

The term Prior Authorization means the approval that a
Participating Provider must receive from the Review
Organization, prior to services being rendered, in order for
certain services and benefits to be covered under this policy.

Services that require Prior Authorization include, but are not
limited to:

o inpatient Hospital services;

o inpatient services at any participating Other Health Care
Facility;

o residential treatment;

» outpatient facility services;

. intensive outpatient programs;

o advanced radiological imaging;

o nonemergency ambulance; or

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transplant services,

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Covered Expenses

The term Covered Expenses means the expenses incurred by
or on behalf of a person for the charges listed below if they are
incurred after he becomes insured for these benefits. Expenses
incurred for such charges are considered Covered Expenses to
the extent that the services or supplies provided are
recommended by a Physician, and are Medically Necessary
for the care and treatment of an Injury or a Sickness, as
determined by CG. Any applicable Copayments,
Deductibles or limits are shown in The Schedule.

Covered Expenses

charges made by a Hospital, on its own behalf, for Bed and
Board and other Necessary Services and Supplies; except
that for any day of Hospital Confinement, Covered
Expenses will not include that portion of charges for Bed
and Board which is more than the Bed and Board Limit
shown in The Schedule.

charges for licensed ambulance service to or from the
nearest Hospital where the needed medical care and
treatment can be provided.

charges made by a Hospital, on its own behalf, for medical
care and treatment received as an outpatient.

charges made by a Free-Standing Surgical Facility, on its
own behalf for medical care and treatrnent.

charges made on its own behalf, by an Other Health Care
Facility, including a Skilled Nursing Facility, a
Rehabilitation Hospital or a subacute facility for medical
care and treatment; except that for any day of Other Health
Care Facility confinement, Covered Expenses will not
include that portion of charges which are in excess of the
Other Health Care Facility Daily Limit shown in The
Schedule.

charges made for Emergency Services and Urgent Care.

charges made by a Physician or a Psychologist for
professional services.

charges made by a Nurse, other than a member of your
family or your Dependent's family, for professional nursing
service.

GM6000 CMS FLX107V 126

charges made for anesthetics and their administration;
diagnostic x-ray and laboratory examinations; x-ray,
radium, and radioactive isotope treatment; chemotherapy;
blood transfusions; oxygen and other gases and their
administration.

charges for Early Intervention Services, including speech
and language therapy, occupational therapy, physical
therapy and assistive technology services and devices for
Dependents from birth through age 2 who are certified by
the Department of Mental Health, Mental Retardation and

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Substance Abuse Services as eligible for services under the
Individuals with Disabilities Education Act. No plan or
lifetime maximum may be applied to this benefit. Annual
benefits payable will not exceed $5,000.

GM6000 CM6 FLX108V745M

o charges made for a mammogram for women ages 35 to 69,
every one to two years, or at any age for women at risk,
when recommended by a Physician.

o charges made for an annual Papanicolaou laboratory
screening test.

o charges made for an annual prostate-specific antigen test
(PSA).

- charges for appropriate counseling, medical services
connected with surgical therapies, including vasectomy and
tubal ligation.

o charges made for laboratory services, radiation therapy and
other diagnostic and therapeutic radiological procedures,

o charges made for Family Planning, including medical
history, physical exam, related laboratory tests, medical
supervision in accordance with generally accepted medical
practices, other medical services, information and
counseling on contraception, implanted/injected
contraceptives.

o charges made for office visits, tests and counseling for
Family Planning services.

o charges made for visits for routine preventive care,
including immunizations.

GM6000 FLXlOBVSl lM

- charges made for medical diagnostic services to determine
the cause of .erectile dysfunction. Penile implants are
covered for an established medical condition that clearly is
the cause of erectile dysfunction, such as postoperative
prostatectomy and diabetes. Penile implants are not covered
as treatment of psychogenic erectile dysfunction.

GM6000 INDEM62 V26

o orthognathic surgery to repair or correct a severe facial
deformity or disfigurement that orthodontics alone can not
correct, provided:

- the deformity or disfigurement is accompanied by a
documented clinically significant functional impainnent,
and there is a reasonable expectation that the procedure
will result in meaningful functional improvement; or

o the orthognathic surgery is Medically Necessary as a
result of tumor, trauma, disease or;

o the orthognathic surgery is performed prior to age 19 and
is required as a result of severe congenital facial
deformity or congenital condition.

Repeat or subsequent orthognathic surgeries for the same
condition are covered only when the previous orthognathic

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surgery met the above requirements, and there is a high
probability of significant additional improvement as
determined by the utilization review Physician.

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- Phase II cardiac rehabilitation provided on an outpatient
basis following diagnosis of a qualifying cardiac condition
when Medically Necessary. Phase ll is a Hospital-based
outpatient program following an inpatient Hospital
discharge The Phase 11 program must be Physician directed
with active treatment and EKG monitoring.

Phase III and Phase IV cardiac rehabilitation is not covered.
Phase III follows Phase ll and is generally conducted at a
recreational facility primarily to maintain the patient's status
achieved through Phases 1 and II. Phase lV is an advancement
of Phase III which includes more active participation and
weight training.

GM6000 OGBNR7

Clinical Trials

~ charges made for routine patient services associated with
cancer clinical trials approved and sponsored by the federal
govemment. ln addition the following criteria must be metz

- the cancer clinical trial is listed on the NIH web site
www.clinicaltrials.gov as being sponsored by the federal
govemment;

~ the trial investigates a treatment for terminal cancer and:
(l) the person has failed standard therapies for the
disease; (2) cannot tolerate standard therapies for the
disease; or (3) no effective nonexperimental treatment for
the disease exists;

- the person meets all inclusion criteria for the clinical trial
and is not treated “off-protocol”;

the trial is approved by the Institutional Review Board of
the institution administering the treatment; and

coverage will not be extended to clinical trials conducted
at nonparticipating facilities if a person is eligible to
participate in a covered clinical trial from a Participating
Provider,

Routine patient services do not include, and reimbursement
will not be provided for:

- the investigational service or supply itself;

- services or supplies listed herein as Exclusions;

- services or supplies related to data collection for the clinical
trial (i.e., protocol-induced costs);

o services or supplies which, in the absence of private health
care coverage, are provided by a clinical trial sponsor or
other party (e.g., device, drug, item or service supplied by
manufacturer and not yet FDA approved) without charge to
the trial participant.

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Genetic Testing

o charges made for genetic testing that uses a proven testing
method for the identification of genetically-linked
inheritable disease. Genetic testing is covered only if:

- a person has symptoms or signs of a genetically-linked
inheritable disease;

- it has been determined that a person is at risk for carrier
status as supported by existing peer-reviewed, evidence-
based, scientific literature for the development of a
genetically-linked inheritable disease when the results
will impact clinical outcome; or

GM6000 OSBP’l'l

~ the therapeutic purpose is to identify specific genetic
mutation that has been demonstrated in the existing peer-
reviewed, evidence-based, scientific literature to directly
impact treatment options.

Pre-implantation genetic testing, genetic diagnosis prior to
embryo transfer, is covered when either parent has an
inherited disease or is a documented carrier of a genetically-
linked inheritable disease.

Genetic counseling is covered if a person is undergoing
approved genetic testing, or if a person has an inherited
disease and is a potential candidate for genetic testing, Genetic
counseling is limited to 3 visits per calendar year for both pre-
and postgenetic testing.

Nutritional Evaluation

o charges made for nutritional evaluation and counseling
when diet is a part of the medical management of a
documented organic disease.

Internal Prosthetic/Medical Appliances

o charges made for internal prosthetic/medical appliances that
provide permanent or temporary internal functional supports
for nonfunctional body parts are covered. Medically
Necessary repair, maintenance or replacement of a covered
appliance is also covered.

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Home Health Services

» charges made for Home Health Services when you: (a)
require skilled care; (b) are unable to obtain the required
care as an ambulatory outpatient; and (c) do not require
confinement in a Hospital or Other Health Care Facility.

Home Health Services are provided only if CG has
determined that the home is a medically appropriate setting.
If you are a minor or an adult who is dependent upon others
for nonskilled care and/or custodial services (e.g., bathing,
eating, toileting), Home Health Services will be provided
for you only during times when there is a family member or
care giver present in the home to meet your nonskilled care
and/or custodial services needs.

Home Health Services are those skilled health care services

that can be provided during visits by Other Health Care
Professionals. The services of a home health aide are

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covered when rendered in direct support of skilled health
care services provided by Other Health Care Professionals.
A visit is defined as a period of 2 hours or less. Home
Health Services are subject to a maximum of 16 hours in
total per day. Necessary consumable medical supplies and
home infusion therapy administered or used by Other
Health Care Professionals in providing Home Health
Services are covered. Home Health Services do not include
services by a person who is a member of your farnin or
your Dependent's family or who normally resides in your
house or your Dependent's house even if that person is an
Other Health Care Professional. Skilled nursing services
provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations.
Private duty nursing, physical, occupational, and other
Short-Term Rehabilitative Therapy services provided in the
home are not subject to the Home Health Services benefit
limitations in the Schedule, but are subject to the benefit
limitations described under in The Schedule.

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Hospice Care Services

o charges made for a person who has been diagnosed as
having six months or fewer to live, due to Tenninal Illness,
for the following Hospice Care Services provided under a
Hospice Care Program:

o by a Hospice Facility for Bed and Board and Services and
Supplies;

o by a Hospice Facility for services provided on an
outpatient basis;

o by a Physician for professional services;

by a Psychologist, social worker, family counselor or
ordained minister for individual and farnin counseling;

for pain relief treatment, including drugs, medicines and
medical supplies;

o by an Other Health Care Facility for:

o part-time or intermittent nursing care by or under the
supervision of a Nurse;

o part-time or intermittent services of an Other Health
Care Professional;

GM6000 CM34 FLX124V38

o physical, occupational and speech therapy;

o medical supplies; drugs and medicines lawfully
dispensed only on the written prescription of a
Physician; and laboratory services; but only to the
extent such charges would have been payable under the
policy if the person had remained or been Confined in a
Hospital or Hospice Facility.

The following charges for Hospice Care Services are not
included as Covered Expenses:

o for the services of a person who is a member of your farnin
or your Dependent's family or who normally resides in your
house or your Dependent's house;

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o for any period when you or your Dependent is not under the
care of a Physician;

o for services or supplies not listed in the Hospice Care
Program;
o for any curative or life-prolonging procedures;

o to the extent that any other benefits are payable for those
expenses under the policy;

o for services or supplies that are primarily to aid you or your
Dependent in daily living;

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Mental Health and Substance Abuse Services

Mental Health Services are services that are required to treat
a disorder that impairs the behavior, emotional reaction or
thought processes. In determining benefits payable, charges
made for the treatment of any physiological conditions related
to Mental Health will not be considered to be charges made
for treatment of Mental Health.

Substance Abuse is defined as the psychological or physical
dependence on alcohol or other mind-altering drugs that
requires diagnosis, care, and treatment. In determining
benefits payable, charges made for the treatment of any
physiological conditions related to rehabilitation services for
alcohol or drug abuse or addiction will not be considered to be
charges made for treatment of Substance Abuse.

Inpatient Mental Health Services

Services that are provided by a Hospital while you or your
Dependent is Confined in a Hospital for the treatment and
evaluation of Mental Health. Inpatient Mental Health Services
include Partial Hospitalization and Mental Health Residential
Treatment Services.

Partial Hospitalization sessions are services that are provided
for not less than 4 hours and not more than 12 hours in any 24-
hour period.

Mental Health Residential Treatrnent Services are services
provided by a Hospital for the evaluation and treatment of the
psychological and social functional disturbances that are a
result of subacute Mental Health conditions.

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Mental Health Residential Treatrnent Center means an
institution which (a) specializes in the treatment of
psychological and social disturbances that are the result of
Mental Health conditions; (b) provides a subacute, structured,
psychotherapeutic treatment program, under the supervision of
Physicians; (c) provides 24-hour care, in which a person lives
in an open setting; and (d) is licensed in accordance with the
laws of the appropriate legally authorized agency as a
residential treatment center.

A person is considered confined in a Mental Health
Residential Treatment Center when she/he is a registered bed
patient in a Mental Health Residential Treatrnent Center upon
the recommendation of a Physician.

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Outpatient Mental Health Services

Services of Providers who are qualified to treat Mental Health
when treatment is provided on an outpatient basis, while you
or your Dependent is not Confined in a Hospital, and is
provided in an individual, group or Mental Health lntensive
Outpatient Therapy Program. Covered services include, but
are not limited to, outpatient treatment of conditions such as:
anxiety or depression which interfere with daily functioning;
emotional adjustment or concerns related to chronic
conditions, such as psychosis or depression; emotional
reactions associated with marital problems or divorce;
child/adolescent problems of conduct or poor impulse control;
affective disorders; suicidal or homicidal threats or acts; eating
disorders; or acute exacerbation of chronic Mental Health
conditions (crisis intervention and relapse prevention) and
outpatient testing and assessment.

A Mental Health lntensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are
provided by a certified/licensed Mental Health prograrn.
lntensive Outpatient Therapy Prograrns provide a combination
of individual, family and/or group therapy in a day, totaling
nine or more hours in a week.

GM6000 muEMro vw

Inpatient Substance Abuse Rehabilitation Services

Services provided for rehabilitation, while you or your
Dependent is Confined in a Hospital, when required for the
diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient Substance Abuse Services include Partial
Hospitalization sessions and Residential Treatment services,

Partial Hospitalization sessions are services that are provided
for not less than 4 hours and not more than 12 hours in any 24-
hour period.

Substance Abuse Residential Treatment Services are
services provided by a Hospital for the evaluation and
treatment of the psychological and social functional
disturbances that are a result of subacute Substance Abuse
conditions,

Substance Abuse Residential Treatment Center means an
institution which (a) specializes in the treatment of
psychological and social disturbances that are the result of
Substance Abuse; (b) provides a subacute, structured,
psychotherapeutic treatment program, under the supervision of
Physicians; (c) provides 24-hour care, in which a person lives
in an open setting; and (d) is licensed in accordance with the
laws of the appropriate legally authorized agency as a
residential treatment center.

A person is considered confined in a Substance Abuse
Residential Treatment Center when she/he is a registered bed
patient in a Substance Abuse Residential Treatment Center
upon the recommendation of a Physician.

Outpatient Substance Abuse Rehabilitation Services

Services provided for the diagnosis and treatment of abuse or
addiction to alcohol and/or drugs, while you or your
Dependent is not Confined in a Hospital, including outpatient
rehabilitation in an individual, or a Substance Abuse lntensive
Outpatient Therapy Program.

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A Substance Abuse lntensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are
provided by a certified/licensed Substance Abuse program.
lntensive Outpatient Therapy Prograrns provide a combination
of individual, farnin and/or group therapy in a day, totaling
nine, or more hours in a week.

GM6000 lNDEMll V78

Substance Abuse Detoxif`ication Services

Detoxification and related medical ancillary services are
provided when required for the diagnosis and treatment of
addiction to alcohol and/or drugs. CG will decide, based on
the Medical Necessity of each situation, whether such services
will be provided in an inpatient or outpatient setting.

Exclusions

The following are specifically excluded from Mental Health
and Substance Abuse Services:

o Any court ordered treatment or therapy, or any treatment or
therapy ordered as a condition of parole, probation or
custody or visitation evaluations unless Medically
Necessary and otherwise covered under this policy or
agreement.

o Treatment of disorders which have been diagnosed as
organic mental disorders associated with permanent
dysfunction of the brain.

o Developmental disorders, including but not limited to,
developmental reading disorders, developmental arithmetic
disorders, developmental language disorders or
developmental articulation disorders.

o Counseling for activities of an educational nature.
¢ Counseling for borderline intellectual functioning.
¢ Counseling for occupational problems.

¢ Counseling related to consciousness raising.

o Vocational or religious counseling.

o I.Q. testing.

¢ Custodial care, including but not limited to geriatric day
care,

o Psychological testing on children requested by or for a
school system.

o Occupational/recreational therapy programs even if
combined with supportive therapy for age-related cognitive
decline.

GM6000 lNDEMlZ V48

Durable Medical Equipment

¢ charges made for purchase or rental of Durable Medical
Equipment that is ordered or prescribed by a Physician and
provided by a vendor approved by CG for use outside a
Hospital or Other Health Care Facility. Coverage for repair,
replacement or duplicate equipment is provided only when
required due to anatomical change and/or reasonable wear
and tear. All maintenance and repairs that result from a
person’s misuse are the person’s responsibility. Coverage

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for Durable Medical Equipment is limited to the lowest-cost

alternative as determined by the utilization review

Physician.
Durable Medical Equipment is defined as items which are
designed for and able to withstand repeated use by more than
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are
appropriate for use in the home; and are not disposable. Such
equipment includes, but is not limited to, crutches, hospital
beds, respirators, wheel chairs, and dialysis machines.

Durable Medical Equipment items that are not covered include
but are not limited to those that are listed below:

~ Bed Related Items: bed trays, over the bed tables, bed
wedges, pillows, custom bedroom equipment, mattresses,
including nonpower mattresses, custom mattresses and
posturepedic mattresses.

o Bath Related Items: bath lifis, nonportable whirlpools,
bathtub rails, toilet rails, raised toilet seats, bath benches,
bath stools, hand held showers, paraffin baths, bath mats,
and spas.

o Chairs, Lif`ts and Standing Devices: computerized or
gyroscopic mobility systems, roll about chairs, geriatric
chairs, hip chairs, seat lifts (mechanical or motorized),
patient lifts (mechanical or motorized - manual hydraulic
lifts are covered if patient is two-person transfer), and auto
tilt chairs.

o Fixtures to Real Property: ceiling lifts and wheelchair
ramps.

~ Car/Van Modif`ications.

~ Air Quality Items: room humidifiers, vaporizers, air
purifiers and electrostatic machines.

o Blood/lnjection Related Items: blood pressure cuffs,
centrifuges, nova pens and needleless injectors.

o Other Equipment: heat lamps, heating pads, cryounits,
cryotherapy machines, electronic-controlled therapy units,
ultraviolet cabinets, sheepskin pads and boots, postural
drainage board, AC/DC adaptors, enuresis alarms, magnetic
equipment, scales (baby and adult), stair gliders, elevators,
saunas, any exercise equipment and diatherrny machines.

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External Prosthetic Appliances and Devices

o charges made or ordered by a Physician for: the initial
purchase and fitting of external prosthetic appliances and
devices available only by prescription which are necessary
for the alleviation or correction of Injury, Sickness or
congenital defect.

Extemal prosthetic appliances and devices shall include

prostheses/prosthetic appliances and devices, orthoses and
orthotic devices; braces; and splints.

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Prostheses/Prosthetic Appliances and Devices

Prostheses/prosthetic appliances and devices are defined as

fabricated replacements for missing body parts.

Prostheses/prosthetic appliances and devices include, but are

not limited to:

~ basic limb prostheses;

o terminal devices such as hands or hooks; and

o speech prostheses.

Orthoses and Orthotic Devices

Orthoses and orthotic devices are defined as orthopedic

appliances or apparatuses used to support, align, prevent or

correct defonnities. Coverage is provided for custom foot

orthoses and other orthoses as follows:

~ Nonfoot orthoses - only the following nonfoot orthoses are
covered:

~ rigid and semirigid custom fabricated orthoses,
o semirigid prefabricated and flexible orthoses; and

o rigid prefabricated orthoses including preparation, fitting
and basic additions, such as bars andjoints.

o Custom foot orthoses - custom foot orthoses are only
covered as follows:

o for persons with impaired peripheral sensation and/or
altered peripheral circulation (e.g. diabetic neuropathy
and peripheral vascular disease);

o when the foot orthosis is an integral part of a leg brace
and is necessary for the proper functioning of the brace;

when the foot orthosis is for use as a replacement or
substitute for missing parts of the foot (e.g. amputated
toes) and is necessary for the alleviation or correction of
Injury, Sickness or congenital defect; and

for persons with neurologic or neuromuscular condition
(e.g. cerebral palsy, hemiplegia, spina bifida) producing
spasticity, malalignment, or pathological positioning of
the foot and there is reasonable expectation of
improvement.

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The following are specifically excluded orthoses and orthotic
devices:

o prefabricated foot orthoses;

o cranial banding and/or cranial orthoses. Other similar
devices are excluded except when used postoperatively for
synostotic plagiocephaly. When used for this indication, the
cranial orthosis will be subject to the limitations and
maximums of the Extemal Prosthetic Appliances and
Devices benefit;

~ orthosis shoes, shoe additions, procedures for foot
orthopedic shoes, shoe modifications and transfers;

o orthoses primarily used for cosmetic rather than functional
reasons; and

o orthoses primarily for improved athletic performance or
sports participation.

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Braces

A Brace is defined as an orthosis or orthopedic appliance that
supports or holds in correct position any movable part of the
body and that allows for motion of that part.

The following braces are specifically excluded: Copes
scoliosis braces.

Splints

A Splint is defined as an appliance for preventing movement
of a joint or for the fixation of displaced or movable parts.

Coverage for replacement of external prosthetic appliances
and devices is limited to the following:

~ Replacement due to regular wear. Replacement for damage
due to abuse or misuse by the person will not be covered.

o Replacement will be provided when anatomic change has
rendered the external prosthetic appliance or device
ineffective. Anatomic change includes significant weight
gain or loss, atrophy and/or growth.

o Coverage for replacement is limited as follows:

o No more than once every 24 months for persons 19 years
of age and older and

~ No more than once every 12 months for persons 18 years
of age and under.

o Replacement due to a surgical alteration or revision of the
site.
The following are specifically excluded external prosthetic
appliances and devices;

o Extemal and internal power enhancements or power
controls for prosthetic limbs and terminal devices; and

o Myoelectric prostheses peripheral nerve stimulators.

GM6000 OSBPTS

Infertility Services

o charges made for services related to diagnosis of infertility
and treatment of infertility once a condition of infertility has
been diagnosed. Services include, but are not limited to:
approved surgeries and other therapeutic procedures that
have been demonstrated in existing peer-reviewed,
evidence-based, scientific literature to have a reasonable
likelihood of resulting in pregnancy; laboratory tests; sperm
washing or preparation; and diagnostic evaluations.

Infertility is defined as the inability of opposite sex partners to
achieve conception after one year of unprotected intercourse.
This benefit includes diagnosis and treatment of both male and
female infertility. The following are specifically excluded
infertility services;

o Infertility drugs;
o Artificial Insemination; In vitro fertilization (IVF); gamete

intrafallopian transfer (GIFT); zygote intrafallopian transfer
(ZIFT) and variations of these procedures;

o Reversal of male and female voluntary sterilization;

o Infertility services when the infertility is caused by or
related to voluntary sterilization;

o Donor charges and services;

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o Cryopreservation of donor sperm and eggs; and

o Any experimental, investigational or unproven infertility
procedures or therapies.

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Short-Term Rehabilitative Therapy

Short-term Rehabilitative Therapy that is part of a
rehabilitation program, including physical, speech,
occupational, cognitive, osteopathic manipulative, cardiac
rehabilitation and pulmonary rehabilitation therapy, when
provided in the most medically appropriate setting.

The following limitation applies to Short-term Rehabilitative
Therapy:

o Occupational therapy is provided only for purposes of
enabling persons to perform the activities of daily living
after an Illness or Injury or Sickness.

Short-term Rehabilitative Therapy services that are not
covered include but are not limited to:

~ Sensory integration therapy, group therapy; treatment of
dyslexia; behavior modification or myofunctional therapy
for dysfluency, such as stuttering or other involuntarily
acted conditions without evidence of an underlying medical
condition or neurological disorder;

o Treatment for functional articulation disorder such as
correction of tongue thrust, lisp, verbal apraxia or
swallowing dysfunction that is not based on an underlying
diagnosed medical condition or Injury; and

o Maintenance or preventive treatment consisting of routine,
long-term or non-Medically Necessary care provided to
prevent recurrence or to maintain the patient’s current
status;

A separate Copayment will apply to the services provided by
each provider.

Services that are provided by a chiropractic Physician are not
covered.

These services include the conservative management of acute
neuromusculoskeletal conditions through manipulation and
ancillary physiological treatment rendered to restore motion,
reduce pain and improve function.

GM6000 07BNR3

Chiropractic Care Services

Charges made f`or diagnostic and treatment services utilized in
an office setting by chiropractic Physicians. Chiropractic
treatment includes the conservative management of acute
neuromusculoskeletal conditions through manipulation and
ancillary physiological treatment rendered to specificjoints to
restore motion, reduce pain, and improve function. For these
services you have direct access to qualified chiropractic
Physicians.

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The following limitation applies to Chiropractic Care
Services:

o Occupational therapy is provided only for purposes of
enabling persons to perform the activities of daily living
after an Injury or Sickness;

Chiropractic Care services that are not covered include but are
not limited to:

o services of a chiropractor which are not within his scope of
practice, as defined by state law;

o charges for care not provided in an office setting;

» maintenance or preventive treatment consisting of routine,
longterm or non-Medically Necessary care provided to
prevent recurrence or to maintain the patient’s current
status; and

o vitamin therapy.
GM6000 07BNR4

Transplant Services

o charges made for human organ and tissue Transplant
services which include solid organ and bone marrow/stem
cell procedures at designated facilities throughout the
United States or its territories. This coverage is subject to
the following conditions and limitations

Transplant services include the recipient’s medical, surgical
and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell
procurement. Transplant services are covered only if they are
required to perform any of the following human to human
organ or tissue transplants: allogeneic bone marrow/stem cell,
autologous bone marrow/stem cell, comea, heart, heart/lung,
kidney, kidney/pancreas, liver, lung, pancreas or intestine
which includes small bowel-liver or multi-visceral.

All Transplant services, other than comea, are covered at
100% when received at CIGNA LIFESOURCE Transplant
Network® facilities Comea transplants are not covered at
CIGNA LIFESOURCE Transplant Network® facilities
Transplant services, including comea, received at participating
facilities specifically contracted with CIGNA for those
Transplant services, other than CIGNA LIFESOURCE
Transplant Network® facilities, are payable at the In-Network
level. Transplant services received at any other facilities,
including Non-Participating Providers and Participating
Providers not specifically contracted with CIGNA for
Transplant services, are not covered.

Coverage for organ procurement costs are limited to costs
directly related to the procurement of an organ, from a cadaver
or a live donor. Organ procurement costs shall consist of`
surgery necessary for organ removal, organ transportation and
the transportation, hospitalization and surgery of a live donor.
Compatibility testing undertaken prior to procurement is
covered if Medically Necessary. Costs related to the search
for, and identification of a bone marrow or stem cell donor for
an allogeneic transplant are also covered.

Transplant Travel Services

Charges made for reasonable travel expenses incurred by you
in connection with a preapproved organ/tissue transplant are

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covered subject to the following conditions and limitations
Transplant travel benefits are not available for comea
transplants Benefits for transportation, lodging and food are
available to you only if you are the recipient of a preapproved
organ/tissue transplant from a designated CIGNA
LIFESOURCE Transplant Network® facility. The term
recipient is defined to include a person receiving authorized
transplant related services during any of the following: (a)
evaluation, (b) candidacy, (c) transplant event, or (d) post-
transplant care. Travel expenses for the person receiving the
transplant will include charges for: transportation to and from
the transplant site (including charges for a rental car used
during a period of care at the transplant facility); lodging
while at, or traveling to and from the transplant site; and food
while at, or traveling to and from the transplant site.

In addition to your coverage for the charges associated with
the items above, such charges will also be considered covered
travel expenses for one companion to accompany you. The
term companion includes your spouse, a member of your
family, your legal guardian, or any person not related to you,
but actively involved as your caregiver. The following are
specifically excluded travel expenses:

travel costs incurred due to travel within 60 miles of your
home; laundry bills; telephone bills; alcohol or tobacco
products; and charges for transportation that exceed coach
class rates

These benefits are only available when the covered person is
the recipient of an organ transplant. No benefits are available
when the covered person is a donor.

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Breast Reconstruction and Breast Prostheses

o charges made for reconstructive surgery following a
mastectomy, if the insured chooses to have surgery, and in
the manner chosen by the insured and Physician. Services
and benefits include:

o surgical services for reconstruction of the breast on which
surgery was performed;

o surgical services for reconstruction of the nondiseased
breast to produce symmetrical appearance;

o postoperative breast prostheses; and

» mastectomy bras and external prosthetics, limited to the
lowest cost alternative available that meets external
prosthetic placement needs.

During all stages of mastectomy, treatment of physical
complications, including lymphedema therapy are covered.

Cosmetic Surgery

Charges made for cosmetic surgery or therapy to repair or
correct severe facial disfigurements or severe physical
deformities that are congenital or result from developmental
abnormalities (other than abnormalities of the jaw or TMJ
disorder), tumors, trauma, disease or the complications of
Medically Necessary noncosmetic surgery.

Reconstructive surgery for correction of congenital birth
defects or developmental abnormalities must be performed
prior to your attainment of age 19. Repeat or subsequent

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surgeries for the same condition are covered only when there
is the probability of significant additional improvement, as
determined by CG.

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Prescription Drug Benefits

The Schedule

 

For You and Your Dependents

 

This plan provides Prescription Drug benefits for Prescription Drugs and Related Supplies provided by Pharmacies as
shown in this Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a portion
of the Covered Expenses for Prescription Drugs and Related Supplies That portion includes any applicable Copayment.

 

Charges

The term Charges means the amount charged by the Insurance Company to the plan when the Pharmacy is a Participating
Pharmacy, and it means the actual billed charges when the Pharmacy is a non-Participating Pharmacy.

 

Copayments
Copayments are expenses to be paid by you or your Dependent for Covered Prescription Drugs and Related Supplies.

 

 

 

 

 

 

PARTlClPx-\TING Non-PART|C`IPATING
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Retail Prescription Drugs The amount you pay for each 30- The amount you pay for each 30-
day supply day supply

Tier 1

Generic* drugs on the Prescription No charge after $10 copay No charge after $10 copay

Drug List
Tier 2

Brand-Name* drugs designated as No charge after $30 copay No charge after $30 copay

preferred on the Prescription Drug
List with no Generic equivalent

Tier 3

Brand-Name* drugs with a Generic No charge after $55 copay No charge after $55 copay
equivalent and drugs designated as
non-preferred on the Prescription
Drug List

 

 

 

 

* Designated as per generally-accepted industry sources and adopted by the Insurance Company

 

 

 

** Specialty Medications are covered at mail order Participating Pharmacies only.

 

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Mail-Order Drugs

The amount you pay for each 90-
day supply

The amount you pay for each 90-
day supply

 

Tier l

Generic* drugs on the Prescription
Drug List

No charge after $20 copay

In-network coverage only

 

Tier 2

Brand-Name* drugs designated as
preferred on the Prescription Dmg
List with no Generic equivalent

No charge after $60 copay

In-network coverage only

 

Tier 3

Brand-Name* drugs with a Generic
equivalent and drugs designated as
non-preferred on the Prescription
Drug List

 

No charge after $110 copay

 

In-network coverage only

 

* Designated as per generally-accepted industry sources and adopted by the Insurance Company

 

 

** Specialty Medications are covered at mail order Participating Phan'nacies only.

 

 

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Prescription Drug Benefits
For You and Your Dependents

Covered Expenses

If you or any one of your Dependents, while insured for
Prescription Drug Benefits, incurs expenses for charges made
by a Pharmacy, for Medically Necessary Prescription Drugs or
Related Supplies ordered by a Physician, CG will provide
coverage for those expenses as shown in the Schedule.
Coverage also includes Medically Necessary Prescription
Drugs and Related Supplies dispensed for a prescription
issued to you or your Dependents by a licensed dentist for the
prevention of infection or pain in conjunction with a dental
procedure.

When you or a Dependent is issued a prescription for
Medically Necessary Prescription Drugs or Related Supplies
as part of the rendering of Emergency Services and that
prescription cannot reasonably be filled by a Participating
Pharmacy, the prescription will be covered by CG, as if filled
by a Participating Pharmacy.

Limitations
Each Prescription Order or refill shall be limited as follows:

- up to a consecutive 30-day supply or 100 units, excluding
Specialty Medications, at a retail Pharmacy, unless limited
by the drug manufacturer's packaging: or

- up to a consecutive 90-day supply at a mail-order
Participating Pharmacy, unless limited by the drug
manufacturer's packaging; or

o to a dosage and/or dispensing limit as determined by the
P&T Committee.

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Coverage for certain Prescription Drugs and Related Supplies
requires your Physician to obtain authorization prior to
prescribing. Prior authorization may include, for example, a
step therapy detemiination. Step therapy determines the
specific usage progression of therapeutically equivalent drug
products or supplies appropriate for treatment of a specific
condition. If your Physician wishes to request coverage for
Prescription Drugs or Related Supplies for which prior
authorization is required, your Physician may call or complete
the appropriate prior authorization form and fax it to CG to
request prior authorization for coverage of the Prescription
Drugs or Related Supplies. Your Physician should make this
request before writing the prescription.

If the request is approved, your Physician will receive
confirmation. The authorization will be processed in our claim
system to allow you to have coverage for those Prescription
Drugs or Related Supplies The length of the authorization
will depend on the diagnosis and Prescription Drugs or
Related Supplies When your Physician advises you that
coverage for the Prescription Drugs or Related Supplies has
been approved, you should contact the Pharmacy to fill the
prescription(s).

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If the request is denied, your Physician and you will be
notified that coverage for the Prescription Drugs or Related
Supplies is not authorized.

If you disagree with a coverage decision, you may appeal that
decision in accordance with the provisions of the Policy, by
submitting a written request stating why the Prescription
Drugs or Related Supplies should be covered.

If you have questions about a specific prior authorization
request, you should call Member Services at the toll-fi'ee
number on the ID card.

All drugs newly approved by the Food and Drug
Administration (FDA) are designated as either non-Preferred
or non-Prescription Drug List drugs until the P & T
Committee clinically evaluates the Prescription Drug for a
different designation.

Prescription Drugs that represent an advance over available
therapy according to the FDA will be reviewed by the P&T
Committee within six months after FDA approval.
Prescription Drugs that appear to have therapeutic qualities
similar to those of an already marketed drug according to the
FDA, will not be reviewed by the P&T Committee for at least
six months after FDA approval. In the case of compelling
clinical data, an ad hoc group will be formed to make an
interim decision on the merits of a Prescription Drug.

Your Payments

Coverage for Prescription Drugs and Related Supplies
purchased at a Pharmacy is subject to the Copayment or
Coinsurance shown in the Schedule, after you have satisfied
your Prescription Drug Deductible, if applicable Please refer
to the Schedule for any required Copayments, Coinsurance,
Deductibles or Maximums if applicable.

When a treatment regimen contains more than one type of
Prescription Drugs which are packaged together for your, or
your Dependent's convenience, a Copayment will apply to
each Prescription Drug.

In no event will the Copayment for the Prescription Drug or
Related Supply exceed the amount paid by the plan to the
Pharmacy, or the Phamiacy’s Usual and Customary (U&C)
charge. Usual & Customary (U&C) means the established
Pharmacy retail cash price, less all applicable customer
discounts that Pharmacy usually applies to its customers
regardless of the customer’s payment source.

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Exclusions
No payment will be made for the following expenses:

~ drugs available over the counter that do not require a
prescription by federal or state law;

- any drug that is a pharmaceutical alternative to an over-the-
counter drug other than insulin;

¢ a drug class in which at least one of the drugs is available
over the counter and the drugs in the class are deemed to be

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therapeutically equivalent as determined by the P&T
Committee;

- injectable infertility drugs and any injectable drugs that
require Physician supervision and are not typically
considered self-administered drugs The following are
examples of Physician supervised drugs; Injectables used to
treat hemophilia and RSV (respiratory syncytial virus),
chemotherapy injectables and endocrine and metabolic
agents

o any drugs that are experimental or investigational as
described under the Medical "Exclusions" section of your
certificate;

o Food and Drug Administration (FDA) approved drugs used
for purposes other than those approved by the FDA unless
the drug is recognized for the treatment of the particular
indication in one of the standard reference compendia (The
United States Pharrnacopeia Drug Information, The
American Medical Association Drug Evaluations; or The
American Hospital Formulary Service Drug Inforrnation)
or in medical literature. Medical literature means scientific
studies published in a peer-reviewed national professional
medical joumal;

o prescription and nonprescription supplies (such as ostomy
supplies), devices, and appliances other than Related
Supplies;

implantable contraceptive products;

any fertility drug;

prescription vitamins (other than prenatal vitamins), dietary
supplements; dietary supplements and f1uoride products;

o drugs used for cosmetic purposes such as drugs used to
reduce wrinkles, drugs to promote hair growth as well as
drugs used to control perspiration and fade cream products;

o diet pills or appetite suppressants (anorectics);
- prescription smoking cessation products;

o immunization agents, biological products for allergy
immunization, biological sera, blood, blood plasma and
other blood products or fractions and medications used for
travel prophylaxis;

o replacement of Prescription Drugs and Related Supplies due
to loss or thefi;

o drugs used to enhance athletic performance;

- drugs which are to be taken by or administered to you while
you are a patient in a licensed Hospital, Skilled Nursing
Facility, rest home or similar institution which operates on
its premises or allows to be operated on its premises a
facility for dispensing pharmaceuticals;

- prescriptions more than one year from the original date of
issue.

Other limitations are shown in the Medical "Exclusions"
section.

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Reimbursement/Filing a Claim

When you or your Dependents purchase your Prescription
Drugs or Related Supplies through a retail Participating
Pharmacy, you pay any applicable Copayment, Coinsurance or
Deductible shown in the Schedule at the time of purchase.
You do not need to file a claim fonn.

If you or your Dependents purchase your Prescription Drugs
or Related Supplies through a non-Participating Pharmacy,
you pay the full cost at the time of purchase. You must submit
a claim form to be reimbursed.

To purchase Prescription Drugs or Related Supplies from a
mail-order Participating Pharmacy, see your mail-order drug
introductory kit for details, or contact member services for
assistance.

See your Employer's Benefit Plan Administrator to obtain the
appropriate claim forrn.

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Exclusions, Expenses Not Covered and
General Limitations

Additional coverage limitations determined by plan or
provider type are shown in the Schedule. Payment for the
following is specifically excluded from this plan:

o expenses for supplies, care, treatment, or surgery that are
not Medically Necessary.

- to the extent that you or any one of your Dependents is in
any way paid or entitled to payment for those expenses by
or through a public program, other than Medicaid.

- to the extent that payment is unlawful where the person
resides when the expenses are incurred.

- charges made by a Hospital owned or operated by or which
provides care or performs services for, the United States
Govemment, if such charges are directly related to a
military-service-connected Injury or Sickness.

 

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o for or in connection with an Injury or Sickness which is due
to war, declared or undeclared.

o charges which you are not obligated to pay or for which you
are not billed or for which you would not have been billed
except that they were covered under this plan.

o assistance in the activities of daily living, including but not
limited to eating, bathing, dressing or other Custodial
Services or self-care activities homemaker services and
services primarily for rest, domiciliary or convalescent care

for or in connection with experimental, investigational or
unproven services

Experimental, investigational and unproven services are
medical, surgical, diagnostic, psychiatric, substance abuse
or other health care technologies supplies, treatments
procedures, drug therapies or devices that are determined by
the utilization review Physician to be:

o not demonstrated, through existing peer-reviewed,
evidence-based, scientific literature to be safe and
effective for treating or diagnosing the condition or
sickness for which its use is proposed;

o not approved by the U.S. Food and Dmg Administration
(FDA) or other appropriate regulatory agency to be
lawfully marketed for the proposed use;

o the subject of review or approval by an Institutional
Review Board for the proposed use except as provided in
the “Clinical Trials” section of this plan; or

o the subject of an ongoing phase I, II or III clinical trial,
except as provided in the “Clinical Trials” section of this
plan.

o cosmetic surgery and therapies Cosmetic surgery or therapy
is defined as surgery or therapy performed to improve or
alter appearance or self-esteem or to treat psychological
symptomatology or psychosocial complaints related to
one’s appearance

o regardless of clinical indication for acupressure;
craniosacral/cranial therapy; rolfing; and prolotherapy.

o surgical or nonsurgical treatment of TMJ dysfunction.

~ for or in connection with treatment of the teeth or
periodontium unless such expenses are incurred for: (a)
charges made for a continuous course of dental treatment
started within sixty days of an Injury to sound natural teeth;
(b) charges made by a Hospital for Bed and Board or
Necessary Services and Supplies; or (c) charges made by a
Free-Standing Surgical Facility or the outpatient department
of a Hospital in connection with surgery.

o for medical and surgical services intended primarily for the
treatment or control of obesity. However, treatment of
clinically severe obesity, as defined by the body mass index
(BMI) classifications of the National Heart, Lung, and

Blood Institute (NHLBI) guideline is covered only at
approved centers if the services are demonstrated, through
existing peer-reviewed, evidence-based, scientific literature
and scientifically based guidelines to be safe and effective
for treatment of the condition. Clinically severe obesity is
defined by the NHLBI as a BMI of 40 or greater without
comorbidities, or 35-39 with comorbidities. The following
are specifically excluded:

o medical and surgical services to alter appearances or
physical changes that are the result of any surgery
performed for the management of obesity or clinically
severe (morbid) obesity; and

o weight loss programs or treatments whether prescribed or
recommended by a Physician or under medical
supervision.

unless otherwise covered in this plan, for reports
evaluations physical examinations or hospitalization not
required for health reasons including, but not limited to,
employment, insurance or government licenses and court-
ordered, forensic or custodial evaluations

court-ordered treatment or hospitalization, unless such
treatment is prescribed by a Physician and listed as covered
in this plan.

transsexual surgery including medical or psychological
counseling and horrnonal therapy in preparation for, or
subsequent to, any such surgery.

for treatment of erectile dysfunction. However, penile
implants are covered when an established medical condition
is the cause of erectile dysfunction.

medical and Hospital care and costs for the infant child of a
Dependent, unless this infant child is otherwise eligible
under this plan.

nonmedical counseling or ancillary services, including but
not limited to Custodial Services, education, training,
vocational rehabilitation, behavioral training, biofeedback,
neurofeedback, hypnosis sleep therapy, employment
counseling, back school, return to work services, work
hardening programs driving safety, and services, training,
educational therapy or other nonmedical ancillary services
for learning disabilities developmental delays autism or
mental retardation.

therapy or treatment intended primarily to improve or
maintain general physical condition or for the purpose of
enhancing job, school, athletic or recreational performance
including but not limited to routine, long terrn, or
maintenance care which is provided after the resolution of
the acute medical problem and when significant therapeutic
improvement is not expected.

consumable medical supplies other than ostomy supplies
and urinary catheters. Excluded supplies include, but are not

 

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limited to bandages and other disposable medical supplies,
skin preparations and test strips except as specified in the
“Home Health Services” or “Breast Reconstruction and
Breast Prostheses” sections of this plan.

o personal or comfort items such as personal care kits
provided on admission to a Hospital, television, telephone,
newborn infant photographs complimentary meals birth
announcements and other articles which are not for the
specific treatment of an Injury or Sickness

o artificial aids including, but not limited to, corrective
orthopedic shoes arch supports elastic stockings garter
belts corsets, dentures and wigs.

~ hearing aids including but not limited to semi-implantable
hearing devices audiant bone conductors and Bone
Anchored Hearing Aids (BAHAs). A hearing aid is any
device that arnplifies sound.

» aids or devices that assist with nonverbal communications
including but not limited to communication boards
prerecorded speech devices laptop computers desktop
computers Personal Digital Assistants (PDAs), Braille
typewriters visual alert systems for the deaf and memory
books

o medical benefits for eyeglasses contact lenses or
examinations for prescription or fitting thereof`, except that
Covered Expenses will include the purchase of the first pair
of eyeglasses lenses frames or contact lenses that follows
keratoconus or cataract surgery.

o charges made for or in connection with routine refi'actions
eye exercises and for surgical treatment for the correction of
a refractive error, including radial keratotomy, when
eyeglasses or contact lenses may be wom.

o treatment by acupuncture.

o all noninjectable prescription drugs, injectable prescription
drugs that do not require Physician supervision and are
typically considered self-administered drugs,
nonprescription drugs, and investigational and experimental
drugs, except as provided in this plan.

o routine foot care, including the paring and removing of
corns and calluses or trimming of nails. However, services
associated with foot care for diabetes and peripheral
vascular disease are covered when Medically Necessary.

membership costs or fees associated with health clubs
weight loss programs and smoking cessation programs

genetic screening or pre-implantations genetic screening
General population-based genetic screening is a testing
method performed in the absence of any symptoms or any
significant, proven risk factors for genetically linked
inheritable disease

dental implants for any condition.

~ fees associated with the collection or donation of blood or
blood products except for autologous donation in
anticipation of scheduled services where in the utilization
review Physician’s opinion the likelihood of excess blood
loss is such that transfusion is an expected adjunct to
surgery.

~ blood administration for the purpose of general
improvement in physical condition.

» cost of biologicals that are immunizations or medications
for the purpose of travel, or to protect against occupational
hazards and risks.

cosmetics dietary supplements and health and beauty aids

nutritional supplements and formulae except for infant
formula needed for the treatment of inbom errors of
metabolism.

o for or in connection with an Injury or Sickness arising out
of`, or in the course of`, any employment for wage or profit.

o telephone, e-mail, and Intemet consultations and
telemedicine.

o massage therapy.

o for charges which would not have been made if the person
had no insurance

» to the extent that they are more than Maximum
Reimbursable Charges.

o expenses incurred outside the United States or Canada,
unless you or your Dependent is a U.S. or Canadian resident
and the charges are incurred while traveling on business or
for pleasure

» charges made by any covered provider who is a member of
your family or your Dependent’s family.

o to the extent of the exclusions imposed by any certification
requirement shown in this plan.

o for or in connection with the pregnancy of a Dependent
child, other than Complications of Pregnancy;

» for or in connection with an elective abortion unless:

o the Physician certifies in writing that the pregnancy would
endanger the life of the mother; or

» the expenses are incurred to treat medical complications
due to the abortion.

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Coordination of Benefits

This section applies if you or any one of your Dependents is
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You
should file all claims with each Plan.

Def'mitions

For the purposes of this section, the following terms have the
meanings set forth below:

Plan

Any of the following that provides benefits or services for
medical care or treatments

(1) Group insurance and/or group-type coverage, whether
insured or self-insured which neither can be purchased by
the general public, nor is individually underwritten,
including closed panel coverage

(2) Coverage under Medicare and other governmental benefits
as permitted by law, excepting Medicaid and Medicare
supplement policies

(3) Medical benefits coverage of group, group-type, and
individual automobile contracts

Each Plan or part of a Plan which has the right to coordinate
benefits will be considered a separate Plan.

Closed Panel Plan

A Plan that provides medical or dental benefits primarily in
the form of services through a panel of employed or
contracted providers and that limits or excludes benefits
provided by providers outside of the panel, except in the case
of emergency or if referred by a provider within the panel.

Primary Plan
The Plan that determines and provides or pays benefits

without taking into consideration the existence of any other
Plan.

Secondary Plan

A Plan that determines and may reduce its benefits after
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the
Primary Plan the Reasonable Cash Value of any services it
provided to you.

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Allowable Expense

A necessary, reasonable and customary service or expense,
including deductibles, coinsurance or copayments that is
covered in full or in part by any Plan covering you. When a
Plan provides benefits in the form of services, the Reasonable

Cash Value of each service is the Allowable Expense and is a
paid benefit.

Examples of expenses or services that are not Allowable
Expenses include, but are not limited to the following:

(l) An expense or service or a portion of an expense or
service that is not covered by any of the Plans is not an
Allowable Expense

(2) If you are confined to a private Hospital room and no Plan
provides coverage for more than a semiprivate room, the
difference in cost between a private and semiprivate room
is not an Allowable Expense

(3) If you are covered by two or more Plans that provide
services or supplies on the basis of reasonable and
customary fees any amount in excess of the highest
reasonable and customary fee is not an Allowable
Expense

(4) If you are covered by one Plan that provides services or
supplies on the basis of reasonable and customary fees
and one Plan that provides services and supplies on the
basis of negotiated fees the Primary Plan's fee
arrangement shall be the Allowable Expense

(5) If your benefits are reduced under the Primary Plan
(through the imposition of a higher copayment arnount,
higher coinsurance percentage, a deductible and/or a
penalty) because you did not comply with Plan provisions
or because you did not use a preferred provider, the
amount of the reduction is not an Allowable Expense.
Such Plan provisions include second surgical opinions
and precertification of admissions or services

Claim Determination Period

A calendar year, but does not include any part of a year during
which you are not covered under this policy or any date before
this section or any similar provision takes effect.

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Reasonable Cash Value

An amount which a duly licensed provider of health care
services usually charges patients and which is within the range
of fees usually charged for the same service by other health
care providers located within the immediate geographic area
where the health care service is rendered under similar or
comparable circumstances

 

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Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.
If the Plan does have a coordination of benefits rule consistent
with this section, the first of the following rules that applies to
the situation is the one to use:

(l)

(2)

(3)

The Plan that covers you as an enrollee or an employee
shall be the Primary Plan and the Plan that covers you as a
Dependent shall be the Secondary Plan;

If you are a Dependent child whose parents are not
divorced or legally separated, the Primary Plan shall be
the Plan which covers the parent whose birthday falls first
in the calendar year as an enrollee or employee;

If you are the Dependent of divorced or separated parents
benefits for the Dependent shall be determined in the
following order:

(a) first, if a court decree states that one parent is
responsible for the child's healthcare expenses or
health coverage and the Plan for that parent has actual
knowledge of the terms of the order, but only from
the time of actual knowledge;

(b) then, the Plan of the parent with custody of the child;

(c) then, the Plan of the spouse of the parent with custody
of the child;

(d) then, the Plan of the parent not having custody of the
child, and

(e) finally, the Plan of the spouse of the parent not having
custody of the child.

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(4)

(5)

(6)

The Plan that covers you as an active employee (or as that
employee's Dependent) shall be the Primary Plan and the
Plan that covers you as laid-off or retired employee (or as
that employee's Dependent) shall be the secondary Plan.
If the other Plan does not have a similar provision and, as
a result, the Plans cannot agree on the order of benefit
determination, this paragraph shall not apply.

The Plan that covers you under a right of continuation
which is provided by federal or state law shall be the
Secondary Plan and the Plan that covers you as an active
employee or retiree (or as that employee's Dependent)
shall be the Primary Plan. If the other Plan does not have
a similar provision and, as a result, the Plans cannot agree
on the order of benefit determination, this paragraph shall
not apply.

If one of the Plans that covers you is issued out of the
state whose laws govern this Policy, and determines the
order of benefits based upon the gender of a parent, and as

a result, the Plans do not agree on the order of benefit
determination, the Plan with the gender rules shall
determine the order of benefits.

If none of the above rules determines the order of benefits the
Plan that has covered you for the longer period of time shall
be primary.

When coordinating benefits with Medicare, this Plan will be
the Secondary Plan and determine benefits after Medicare,
where permitted by the Social Security Act of 1965, as
amended. However, when more than one Plan is secondary to
Medicare, the benefit determination rules identified above,
will be used to determine how benefits will be coordinated.

Effect on the Benefits of This Plan

If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a
Claim Determination Period are not more than 100% of the
total of all Allowable Expenses

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As each claim is submitted, CG will determine the following:

(l) CG's obligation to provide services and supplies under
this policy; and

(2) whether there are any unpaid Allowable Expenses during
the Claims Determination Period.

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If CG pays charges for benefits that should have been paid by
the Primary Plan, or if CG pays charges in excess of those for
which we are obligated to provide under the Policy, CG will
have the right to recover the actual payment made or the
Reasonable Cash Value of any services

CG will have sole discretion to seek such recovery from any
person to, or for whom, or with respect to whom, such
services were provided or such payments made by any
insurance company, healthcare plan or other organization. If
we request, you must execute and deliver to us such
instruments and documents as we determine are necessary to
secure the right of recovery.

Right to Receive and Release Information

CG, without consent or notice to you, may obtain information
from and release information to any other Plan with respect to
you in order to coordinate your benefits pursuant to this
section. You must provide us with any information we request
in order to coordinate your benefits pursuant to this section.
This request may occur in connection with a submitted claim;
if so, you will be advised that the "other coverage"
information, (including an Explanation of Benefits paid under
the Primary Plan) is required before the claim will be
processed for payment. If no response is received within 90

 

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days of the request, the claim will be denied. lf the requested
information is subsequently received, the claim will be
processed.

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Medicare Eligibles

CG will pay as the Secondary Plan as permitted
by the Social Security Act of 1965 as amended
for the following:

(a) a former Employee Who is eligible for
Medicare and whose insurance is continued
for any reason as provided in this plan;

(b)a former Employee's Dependent, or a former
Dependent Spouse, who is eligible for
Medicare and whose insurance is continued
for any reason as provided in this plan;

(c) an Employee whose Employer and each
other Employer participating in the
Employer's plan have fewer than 100
Employees and that Employee is eligible for
Medicare due to disability;

(d) the Dependent of an Employee Whose
Employer and each other Employer
participating in the Employer's plan have
fewer than 100 Employees and that
Dependent is eligible for Medicare due to
disability;

(e) an Employee or a Dependent of an
Employee of an Employer who has fewer
than 20 Employees if that person is eligible
for Medicare due to age;

(f) an Employee, retired Employee, Employee's
Dependent or retired Employee's Dependent
who is eligible for Medicare due to End
Stage Renal Disease after that person has
been eligible for Medicare for 30 months;

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CG will assume the amount payable under:

- Part A of Medicare for a person Who is
eligible for that Part without premium
payment, but has not applied, to be the
amount he would receive if he had applied.

- Part B of Medicare for a person who is
entitled to be enrolled in that Part, but is not,
to be the amount he would receive if he Were
enrolled.

. Part B of Medicare for a person who has
entered into a private contract with a provider,
to be the amount he would receive in the
absence of such private contract.

A person is considered eligible for Medicare on
the earliest date any coverage under Medicare
could become effective for him.

This reduction will not apply to any Employee
and his Dependent or any former Employee and
his Dependent unless he is listed under (a)
through (f) above

Domestic Partners

Under federal law, the Medicare Secondary
Payer Rules do not apply to Domestic Partners
covered under a group health plan when
Medicare coverage is due to age Therefore,
when Medicare coverage is due to age,
Medicare is always the Primary Plan for a
person covered as a Domestic Partner, and
CIGNA is the Secondary Plan. However, when
Medicare coverage is due to disability, the
Medicare Secondary Payer Rules explained
above will apply.

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Expenses For Which A Third Party May
Be Responsible
This plan does not cover:

l. Expenses incurred by you or your Dependent (hereinafter
individually and collectively referred to as a "Participant,")
for which another party may be responsible as a result of
having caused or contributed to an Injury or Sickness

2. Expenses incurred by a Participant to the extent any
payment is received for them either directly or indirectly
from a third party tortfeasor or as a result of a settlement,
judgment or arbitration award in connection with any
automobile medical, automobile no-fault, uninsured or
underinsured motorist, homeowners workers'
compensation, government insurance (other than Medicaid),
or similar type of insurance or coverage

Subrogatioo/Right of Reimbursement

If a Participant incurs a Covered Expense for which, in the
opinion of the plan or its claim administrator, another party
may be responsible or for which the Participant may receive
payment as described above:

1. Subrogation: The plan shall, to the extent permitted by law,
be subrogated to all rights claims or interests that a
Participant may have against such party and shall
automatically have a lien upon the proceeds of any recovery
by a Participant from such party to the extent of any benefits
paid under the plan. A Participant or his/her representative
shall execute such documents as may be required to secure
the plan’s subrogation rights.

2. Right of Reimbursement: The plan is also granted a right of
reimbursement from the proceeds of any recovery whether
by settlement, judgment, or otherwise This right of
reimbursement is cumulative with and not exclusive of the
subrogation right granted in paragraph l, but only to the
extent of the benefits provided by the plan.

Lien of the Plan
By accepting benefits under this plan, a Participant:

o grants a lien and assigns to the plan an amount equal to the
benefits paid under the plan against any recovery made by
or on behalf of the Participant which is binding on any
attorney or other party who represents the Participant
whether or not an agent of the Participant or of any
insurance company or other financially responsible party
against whom a Participant may have a claim provided said
attomey, insurance carrier or other party has been notified
by the plan or its agents;

o agrees that this lien shall constitute a charge against the
proceeds of any recovery and the plan shall be entitled to
assert a security interest thereon;

o agrees to hold the proceeds of any recovery in trust for the
benefit of the plan to the extent of any payment made by the
plan.

Additional Terms

o No adult Participant hereunder may assign any rights that it
may have to recover medical expenses from any third party
or other person or entity to any minor Dependent of said
adult Participant without the prior express written consent
of the plan. The plan’s right to recover shall apply to
decedents’, minors’, and incompetent or disabled persons’
settlements or recoveries

o No Participant shall make any settlement, which specifically
reduces or excludes or attempts to reduce or exclude, the
benefits provided by the plan.

o The plan’s right of recovery shall be a prior lien against any
proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the
application of any so-called “Made-Whole Doctrine”,
“Rimes Doctrine”, or any other such doctrine purporting to
defeat the plan’s recovery rights by allocating the proceeds
exclusively to non-medical expense damages

o No Participant hereunder shall incur any expenses on behalf
of the plan in pursuit of the plan’s rights hereunder,
specifically; no court costs attomeys' fees or other
representatives' fees may be deducted fi'om the plan’s
recovery without the prior express written consent of the
plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine”, or “Attomey’s
Fund Doctrine”,

o The plan shall recover the full amount of benefits provided
hereunder without regard to any claim of fault on the part of
any Participant, whether under comparative negligence or
otherwise.

o In the event that a Participant shall fail or refuse to honor its
obligations hereunder, then the plan shall be entitled to
recover any costs incurred in enforcing the terms hereof
including, but not limited to, attomey’s fees litigation, court
costs and other expenses The plan shall also be entitled to
offset the reimbursement obligation against any entitlement
to future medical benefits hereunder until the Participant has
fully complied with his reimbursement obligations
hereunder, regardless of how those future medical benefits
are incurred.

o Any reference to state law in any other provision of this
plan shall not be applicable to this provision, if the plan is
governed by ERISA. By acceptance of benefits under the
plan, the Participant agrees that a breach hereof would cause
irreparable and substantial harm and that no adequate
remedy at law would exist. Further, the Plan shall be
entitled to invoke such equitable remedies as may be
necessary to enforce the terms of the plan, including, but not

 

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limited to, specific performance restitution, the imposition
of an equitable lien and/or constructive trust, as well as
injunctive relief`.

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Payment of Benefits
To Whom Payable

All Medical Benefits are payable to you. However, at the
option of CG, all or any part of them may be paid directly to
the person or institution on whose charge claim is based.

Medical Benefits are not assignable unless agreed to by CG.
CG may, at its option, make payment to you for the cost of
any Covered Expenses received by you or your Dependent
from a Non-Participating Provider even if benefits have been
assigned. When benefits are paid to you or your Dependent,
you or your Dependent is responsible for reimbursing the
Provider. If any person to whom benefits are payable is a
minor or, in the opinion of CG, is not able to give a valid
receipt for any payment due him, such payment will be made
to his legal guardian. If no request for payment has been made
by his legal guardian, CG may, at its option, make payment to
the person or institution appearing to have assumed his
custody and support.

If you die while any of these benefits remain unpaid, CG may

choose to make direct payment to any of your following living
relatives: spouse, mother, father, child or children, brothers or

sisters; or to the executors or administrators of your estate

Payment as described above will release CG from all liability
to the extent of any payment made

Time of Payment
Benefits will be paid by CG when it receives due proof of loss
Recovery of Overpayment

When an overpayment has been made by CG, CG will have

the right at any time to: (a) recover that overpayment from the
person to whom or on whose behalf it was made; or (b) offset
the amount of that overpayment from a future claim payment.

Calculation of Covered Expenses

CG, in its discretion, will calculate Covered Expenses
following evaluation and validation of all provider billings in
accordance with:

o the methodologies in the most recent edition of the Current
Procedural terminology.

» the methodologies as reported by generally recognized
professionals or publications

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Termination of Insurance

Employees
Your insurance will cease on the earliest date below:

o the date you cease to be in a Class of Eligible Employees or
cease to qualify for the insurance

o the last day for which you have made any required
contribution for the insurance

o the date the policy is canceled.

o the date your Active Service ends except as described
below.

Any continuation of insurance must be based on a plan which

precludes individual selection.

Temporary Layoff or Leave of Absence

If your Active Service ends due to temporary layoff or leave
of absence, your insurance will be continued until the date
your Employer cancels your insurance However, your
insurance will not be continued for more than 60 days past the
date your Active Service ends

Injury or Sickness

If your Active Service ends due to an Injury or Sickness, your
insurance will be continued while you remain totally and
continuously disabled as a result of the Injury or Sickness
However, your insurance will not continue past the date your
Employer cancels the insurance

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Dependents

Your insurance for all of your Dependents will cease on the
earliest date below:

» the date your insurance ceases
o the date you cease to be eligible for Dependent Insurance

 

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o the last day for which you have made any required
contribution for the insurance

v the date Dependent Insurance is canceled.

The insurance for any one of your Dependents will cease on
the date that Dependent no longer qualifies as a Dependent,

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Rescissions

Your coverage may not be rescinded (retroactively terminated)
by CG or the plan sponsor unless: (1) the plan sponsor or an
individual (or a person seeking coverage on behalf of the
individual) performs an act, practice or omission that
constitutes fraud; or (2) the plan sponsor or individual (or a
person seeking coverage on behalf of the individual) makes an
intentional misrepresentation of material fact.

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Federal Requirements

The following pages explain your rights and responsibilities
under federal laws and regulations Some states may have
similar requirements If a similar provision appears elsewhere
in this booklet, the provision which provides the better benefit
will apply.

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Notice of Provider Directory/Networks

Notice Regarding Provider/Pharmacy Directories and
Provider/Pharmacy Networks

If your Plan utilizes a network of Providers a separate listing
of Participating Providers who participate in the network is
available to you without charge by visiting www.cigna.com;
mycigna.com or by calling the toll-free telephone number on
your ID card.

Your Participating Provider/Pharmacy networks consist of a
group of local medical practitioners and Hospitals, of varied
specialties as well as general practice or a group of local
Phannacies who are employed by or contracted with CIGNA
HealthCare.

FDRL79

Qualified Medical Child Support Order
(QMCSO)
A. Eligibility for Coverage Under a QMCSO

If a Qualified Medical Child Support Order (QMCSO) is
issued for your child, that child will be eligible for coverage as
required by the order and you will not be considered a Late
Entrant for Dependent Insurance,

You must notify your Employer and elect coverage for that
child and yourself`, if you are not already enrolled, within 31
days of the QMCSO being issued.

B. Qualified Medical Child Support Order Defmed

A Qualified Medical Child Support Order is a judgment,
decree or order (including approval of a settlement agreement)
or administrative notice, which is issued pursuant to a state
domestic relations law (including a community property law),
or to an administrative process which provides for child
support or provides for health benefit coverage to such child
and relates to benefits under the group health plan, and
satisfies all of the following:

1. the order recognizes or creates a child’s right to receive
group health benefits for which a participant or beneficiary
is eligible;

2. the order specifies your name and last known address and
the child’s name and last known address except that the
name and address of an official of a state or political
subdivision may be substituted for the child’s mailing
address;

3. the order provides a description of the coverage to be
provided, or the manner in which the type of coverage is to
be detennined;

4. the order states the period to which it applies; and

5. if the order is a National Medical Support Notice
completed in accordance with the Child Support
Perfonnance and Incentive Act of 1998, such Notice meets
the requirements above

The QMCSO may not require the health insurance policy to
provide coverage for any type or form of benefit or option not
otherwise provided under the policy, except that an order may
require a plan to comply with State laws regarding health care
coverage

 

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C. Payment of Benefits

Any payment of benefits in reimbursement for Covered
Expenses paid by the child, or the child’s custodial parent or
legal guardian, shall be made to the child, the child’s custodial
parent or legal guardian, or a state official whose name and
address have been substituted for the name and address of the
child.

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Special Enrollment Rights Under the Health
Insurance Portability & Accountability Act
(HIPAA)

If you or your eligible Dependent(s) experience a special
enrollment event as described below, you or your eligible
Dependent(s) may be entitled to enroll in the Plan outside of a
designated enrollment period upon the occurrence of one of
the special enrollment events listed below. If you are already
enrolled in the Plan, you may request enrollment for you and
your eligible Dependent(s) under a different option offered by
the Employer for which you are currently eligible If you are
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible
Dependent(s). You and all of your eligible Dependent(s) must
be covered under the same option. The special enrollment
events include:

~ Acquiring a new Dependent, If you acquire a new
Dependent(s) through marriage, birth, adoption or
placement for adoption, you may request special enrollment
for any of the following combinations of individuals if not
already enrolled in the Plan: Employee only; spouse only;
Employee and spouse; Dependent child(ren) only;
Employee and Dependent child(ren); Employee, spouse and
Dependent child(ren). Enrollment of Dependent children is
limited to the newborn or adopted children or children who
became Dependent children of the Employee due to
marriage Dependent children who were already Dependents
of the Employee but not currently enrolled in the Plan are
not entitled to special enrollment.

o Loss of eligibility for State Medicaid or Children’s
Health Insurance Program (CHIP). If you and/or your
Dependent(s) were covered under a state Medicaid or CHIP
plan and the coverage is terminated due to a loss of
eligibility, you may request special enrollment for yourself
and any affected Dependent(s) who are not already enrolled
in the Plan. You must request enrollment within 60 days
after termination of Medicaid or CHIP coverage

o Loss of eligibility for other coverage (excluding
continuation coverage). If coverage was declined under

this Plan due to coverage under another plan, and eligibility
for the other coverage is lost, you and all of your eligible
Dependent(s) may request special enrollment in this Plan. If
required by the Plan, when enrollment in this Plan was
previously declined, it must have been declined in writing
with a statement that the reason for declining enrollment
was due to other health coverage This provision applies to
loss of eligibility as a result of any of the following:

o divorce or legal separation;

o cessation of Dependent status (such as reaching the
limiting age);

death of the Employee;

termination of employment;

reduction in work hours to below the minimum required
for eligibility;

you or your Dependent(s) no longer reside, live or work
in the other plan’s network service area and no other
coverage is available under the other plan;

o you or your Dependent(s) incur a claim which meets or
exceeds the lifetime maximum limit that is applicable to
all benefits offered under the other plan; or

o the other plan no longer offers any benefits to a class of
similarly situated individuals

o Termination of employer contributions (excluding
continuation coverage). If a current or former employer
ceases all contributions toward the Employee’s or
Dependent’s other coverage, special enrollment may be
requested in this Plan for you and all of your eligible
Dependent(s).

 

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o Exhaustion of COBRA or other continuation coverage
Special enrollment may be requested in this Plan for you
and all of your eligible Dependent(s) upon exhaustion of
COBRA or other continuation coverage If you or your
Dependent(s) elect COBRA or other continuation coverage
following loss of coverage under another plan, the COBRA
or other continuation coverage must be exhausted before
any special enrollment rights exist under this Plan. An
individual is considered to have exhausted COBRA or other
continuation coverage only if such coverage ceases: (a) due
to failure of the employer or other responsible entity to
remit premiums on a timely basis; (b) when the person no
longer resides or works in the other plan’s service area and
there is no other COBRA or continuation coverage available
under the plan; or (c) when the individual incurs a claim that
would meet or exceed a lifetime maximum limit on all
benefits and there is no other COBRA or other continuation
coverage available to the individual. This does not include
termination of an employer’s limited period of contributions
toward COBRA or other continuation coverage as provided
under any severance or other agreement

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o Eligibility for employment assistance under State
Medicaid or Children’s Health Insurance Program
(CHIP). If you and/or your Dependent(s) become eligible
for assistance with group health plan premium payments
under a state Medicaid or CHIP plan, you may request
special enrollment for yourself and any affected
Dependent(s) who are not already enrolled in the Plan. You
must request enrollment within 60 days after the date you
are determined to be eligible for assistance

Except as stated above, special enrollment must be requested
within 30 days after the occurrence of the special enrollment
event If the special enrollment event is the birth or adoption
of a Dependent child, coverage will be effective immediately
on the date of birth, adoption or placement for adoption.
Coverage with regard to any other special enrollment event
will be effective on the first day of the calendar month
following receipt of the request for special enrollment

Individuals who enroll in the Plan due to a special enrollment
event will not be considered Late Entrants Any Pre-existing
Condition limitation will be applied upon enrollment, reduced
by prior Creditable Coverage, but will not be extended as for a
Late Entrant

Domestic Partners and their children (if not legal children of
the Employee) are not eligible for special enrollment,

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Effect of Section 125 Tax Regulations on This
Plan

Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Intemal
Revenue Code Per this regulation, you may agree to a pretax
salary reduction put toward the cost of your benefits.
Otherwise, you will receive your taxable earnings as cash
(salary).

A. Coverage Elections

Per Section 125 regulations you are generally allowed to
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed if your Employer
agrees and you enroll for or change coverage within 30 days
of the following:

o the date you meet the Special Enrollment criteria described
above; or

o the date you meet the criteria shown in the following
Sections B through F.

B. Change of Status
A change in status is defined as:

l. change in legal marital status due to marriage death of a
spouse, divorce, annulment or legal separation;

2. change in number of Dependents due to birth, adoption,
placement for adoption, or death of a Dependent;

3. change in employment status of Employee, spouse or
Dependent due to termination or start of employment,
strike, lockout, beginning or end of unpaid leave of
absence, including under the Family and Medical Leave
Act (FMLA), or change in worksite;

4. changes in employment status of Employee, spouse or
Dependent resulting in eligibility or ineligibility for
coverage;

5. change in residence of Employee, spouse or Dependent to
a location outside of the Employer’s network service
area; and

6. changes which cause a Dependent to become eligible or
ineligible for coverage

C. Court Order

A change in coverage due to and consistent with a court order
of the Employee or other person to cover a Dependent

D. Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent cancels or reduces
coverage due to entitlement to Medicare or Medicaid, or
enrolls or increases coverage due to loss of Medicare or
Medicaid eligibility.

 

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E. Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit
period, your Employer may, in accordance with plan tenns,
automatically change your elective contribution.

When the change in cost is significant, you may either
increase your contribution or elect less-costly coverage When
a significant overall reduction is made to the benefit option
you have elected, you may elect another available benefit
option. When a new benefit option is added, you may change
your election to the new benefit option.

F. Changes in Coverage of Spouse or Dependent Under
Another Employer’s Plan

You may make a coverage election change if the plan of your
spouse or Dependent: (a) incurs a change such as adding or
deleting a benefit option; (b) allows election changes due to
Special Enrollment, Change in Status Court Order or
Medicare or Medicaid Eligibility/Entitlement; or (c) this Plan
and the other plan have different periods of coverage or open
enrollment periods

FDRL70

Eligibility for Coverage for Adopted Children

Any child under the age of 18 who is adopted by you,
including a child who is placed with you for adoption, will be
eligible for Dependent Insurance upon the date of placement
with you. A child will be considered placed for adoption when
you become legally obligated to support that child, totally or
partially, prior to that child’s adoption.

If a child placed for adoption is not adopted, all health
coverage ceases when the placement ends and will not be
continued.

The provisions in the “Exception for Newboms” section of
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.

FDRL6

Coverage for Maternity Hospital Stay

Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newboms’ and Mothers’ Health Protection
Ac ”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96
hours following a cesarean section; or require that a provider

obtain authorization from the plan or insurance issuer for
prescribing a length of stay not in excess of the above periods.
The law generally does not prohibit an attending provider of
the mother or newbom, in consultation with the mother, fiom
discharging the mother or newborn earlier than 48 or 96 hours,
as applicable

Please review this Plan for further details on the specific
coverage available to you and your Dependents

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Women’s Health and Cancer Rights Act
(WHCRA)

Do you know that your plan, as required by the Women’s
Health and Cancer Rights Act of 1998, provides benefits for
mastectomy-related services including all stages of
reconstruction and surgery to achieve symmetry between the
breasts prostheses and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more
information,

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Group Plan Coverage Instead of Medicaid

If your income and liquid resources do not exceed certain
limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is
cost effective This includes premiums for continuation
coverage required by federal law.

FDRL75

Obtaining a Certificate of Creditable Coverage
Under This Plan

Upon loss of coverage under this Plan, a Certificate of
Creditable Coverage will be mailed to each terminating
individual at the last address on file. You or your dependent
may also request a Certificate of Creditable Coverage, without
charge, at any time while enrolled in the Plan and for 24
months following termination of coverage You may need this
document as evidence of your prior coverage to reduce any
pre-existing condition limitation period under another plan, to
help you get special enrollment in another plan, or to obtain
certain types of individual health coverage even if you have

 

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health problems To obtain a Certificate of Creditable
Coverage, contact the Plan Administrator or call the toll-fi'ee
customer service number on the back of your ID card.

FDRL50

Requirements of Medical Leave Act of 1993 (as
amended) (FMLA)

Any provisions of the policy that provide for: (a) continuation
of insurance during a leave of absence; and (b) reinstatement
of insurance following a return to Active Service; are modified
by the following provisions of the federal Family and Medical
Leave Act of 1993, as amended, where applicable:

A. Continuation of Health Insurance During Leave

Your health insurance will be continued during a leave of
absence if:

o that leave qualifies as a leave of absence under the Family
and Medical Leave Act of 1993, as amended; and

o you are an eligible Employee under the terms of that Act.

The cost of your health insurance during such leave must be
paid, whether entirely by your Employer or in part by you and
your Employer.

B. Reinstatement of Canceled Insurance Following Leave

Upon your return to Active Service following a leave of
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life
or disability) will be reinstated as of the date of your retum.

You will not be required to satisfy any eligibility or benefit
waiting period or the requirements of any Pre-existing
Condition limitation to the extent that they had been satisfied
prior to the start of such leave of absence

Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as arnended.

FDRL74

Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)

The Uniformed Services Employment and Re-employment
Rights Act of 1994 (USERRA) sets requirements for
continuation of health coverage and re-employment in regard
to an Employee’s military leave of absence These
requirements apply to medical and dental coverage for you
and your Dependents They do not apply to any Life, Short-

terrn or Long-terrn Disability or Accidental Death &
Dismemberment coverage you may have

A. Continuation of Coverage

For leaves of less than 31 days, coverage will continue as
described in the Termination section regarding Leave of
Absence

For leaves of 31 days or more, you may continue coverage for
yourself and your Dependents as follows:

You may continue benefits by paying the required premium to
your Employer, until the earliest of the following:

- 24 months fi'om the last day of employment with the
Employer;

- the day after you fail to return to work; and

o the date the policy cancels

Your Employer may charge you and your Dependents up to
102% of the total premium.

Following continuation of health coverage per USERRA
requirements, you may convert to a plan of individual
coverage according to any “Conversion Privilege” shown in
your certificate

B. Reinstatement of Benefits (applicable to all coverages)

If your coverage ends during the leave of absence because you
do not elect USERRA or an available conversion plan at the
expiration of USERRA and you are reemployed by your
current Employer, coverage for you and your Dependents may
be reinstated if (a) you gave your Employer advance written or
verbal notice of your military service leave, and (b) the
duration of all military leaves while you are employed with
your current Employer does not exceed 5 years

You and your Dependents will be subject to only the balance
of a Pre-Existing Condition Limitation (PCL) or waiting
period that was not yet satisfied before the leave began.
However, if an Injury or Sickness occurs or is aggravated
during the military leave, full Plan limitations will apply.

Any 63-day break in coverage rule regarding credit for time
accrued toward a PCL waiting period will be waived.

If your coverage under this plan terminates as a result of your
eligibility for military medical and dental coverage and your
order to active duty is canceled before your active duty service
commences these reinstatement rights will continue to apply.

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Claim Determination Procedures Under ERISA

The following complies with federal law. Provisions of the
laws of your state may supersede

Procedures Regarding Medical Necessity Determinations

In general, health services and benefits must be Medically
Necessary to be covered under the plan. The procedures for
determining Medical Necessity vary, according to the type of
service or benefit requested, and the type of health plan.
Medical Necessity determinations are made on either a
preservice, concurrent, or postservice basis, as described
below:

Certain services require prior authorization in order to be
covered. This prior authorization is called a “preservice
medical necessity determination.” The Certificate describes
who is responsible for obtaining this review. You or your
authorized representative (typically, your health care provider)
must request Medical Necessity determinations according to
the procedures described below, in the Certificate, and in your
provider’s network participation documents as applicable

When services or benefits are determined to be not Medically
Necessary, you or your representative will receive a written
description of the adverse determination, and may appeal the
deterrnination. Appeal procedures are described in the
Certificate, in your provider’s network participation
documents and in the determination notices

Preservice Medical Necessity Determinations

When you or your representative request a required Medical
Necessity determination prior to care, CG will notify you or
your representative of the determination within 15 days after
receiving the request However, if more time is needed due to
matters beyond CG’s control, CG will notify you or your
representative within 15 days after receiving your request
This notice will include the date a determination can be
expected, which will be no more than 30 days after receipt of
the request If more time is needed because necessary
information is missing from the request, the notice will also
specify what information is needed, and you or your
representative must provide the specified information to CG
within 45 days after receiving the notice The determination
period will be suspended on the date CG sends such a notice
of missing information, and the determination period will
resume on the date you or your representative responds to the
notice

If the determination periods above would seriously jeopardize
your life or health, your ability to regain maximum function,
or in the opinion of a Physician with knowledge of your health
condition, cause you severe pain which cannot be managed
without the requested services, CG will make the preservice
determination on an expedited basis CG’s Physician reviewer,
in consultation with the treating Physician, will decide if an
expedited determination is necessary. CG will notify you or

your representative of an expedited determination within 72
hours after receiving the request

However, if necessary information is missing from the
request, CG will notify you or your representative within 24
hours after receiving the request to specify what information is
needed. You or your representative must provide the specified
information to CG within 48 hours after receiving the notice
CG will notify you or your representative of the expedited
benefit determination within 48 hours after you or your
representative responds to the notice Expedited
determinations may be provided orally, followed within 3 days
by written or electronic notification.

If you or your representative fails to follow CG’s procedures
for requesting a required preservice medical necessity
determination, CG will notify you or your representative of
the failure and describe the proper procedures for filing within
5 days (or 24 hours, if an expedited determination is required,
as described above) after receiving the request This notice
may be provided orally, unless you or your representative
requests written notification.

Concurrent Medical Necessity Determinations

When an ongoing course of treatment has been approved for
you and you wish to extend the approval, you or your
representative must request a required concurrent Medical
Necessity determination at least 24 hours prior to the
expiration of the approved period of time or number of
treatments When you or your representative requests such a
determination, CG will notify you or your representative of
the determination within 24 hours after receiving the request

Postservice Medical Necessity Determinations

When you or your representative requests a Medical Necessity
determination after services have been rendered, CG will
notify you or your representative of the determination within
30 days after receiving the request However, if more time is
needed to make a determination due to matters beyond CG’s
control CG will notify you or your representative within 30
days after receiving the request This notice will include the
date a determination can be expected, which will be no more
than 45 days after receipt of the request

If more time is needed because necessary information is
missing from the request, the notice will also specify what
information is needed, and you or your representative must
provide the specified information to CG within 45 days after
receiving the notice The determination period will be
suspended on the date CG sends such a notice of missing
information, and the determination period will resume on the
date you or your representative responds to the notice

Postservice Claim Determinations

When you or your representative requests payment for
services which have been rendered, CG will notify you of the
claim payment determination within 30 days after receiving

 

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the request However, if more time is needed to make a
determination due to matters beyond CG’s control, CG will
notify you or your representative within 30 days after
receiving the request This notice will include the date a
determination can be expected, which will be no more than 45
days after receipt of the request If more time is needed
because necessary information is missing from the request, the
notice will also specify what information is needed, and you or
your representative must provide the specified information
within 45 days after receiving the notice The determination
period will be suspended on the date CG sends such a notice
of missing information, and resume on the date you or your
representative responds to the notice

Notice of Adverse Determination

Every notice of an adverse benefit determination will be
provided in writing or electronically, and will include all of
the following that pertain to the deterrnination: the specific
reason or reasons for the adverse determination; reference to
the specific plan provisions on which the determination is
based; a description of any additional material or information
necessary to perfect the claim and an explanation of why such
material or information is necessary; a description of the
plan’s review procedures and the time limits applicable,
including a statement of a claimant’s rights to bring a civil
action under section 502(a) of ERISA following an adverse
benefit determination on appeal; upon request and free of
charge, a copy of any internal rule, guideline, protocol or other
similar criterion that was relied upon in making the adverse
determination regarding your claim; and an explanation of the
scientific or clinical judgment for a determination that is based
on a Medical Necessity, experimental treatment or other
similar exclusion or limit; in the case of a claim involving
urgent care, a description of the expedited review process
applicable to such claim.

FDRL77

Medical - When You Have a Complaint or an
Appeal
For the purposes of this section, any reference to “you,”

“your,” or “Member” also refers to a representative or
provider.

“Physician Reviewers” are licensed Physicians depending on
the care, service or treatment under review.

We want you to be completely satisfied with the care you

receive That is why we have established a process for
addressing your concerns and solving your problems

Start With Member Services

We are here to listen and help. If you have a concern regarding
a person, a service, the quality of care, or contractual benefits
you may call the toll-free number on your Benefit
Identification card, explanation of benefits or claim form and
explain your concern to one of our Member Services
representatives You may also express that concern in writing

We will do our best to resolve the matter on your initial
contact If we need more time to review or investigate your
concem, we will get back to you as soon as possible, but in
any case within 30 days If you are not satisfied with the
results of a coverage decision, you may start the appeals
procedure

Appeals Procedure

CG has a two-step appeals procedure for coverage decisions
To initiate an appeal, you must submit a request for an appeal
in writing to CG within 365 days of receipt of a denial notice
You should state the reason why you feel your appeal should
be approved and include any information supporting your
appeal. If you are unable or choose not to write, you may ask
CG to register your appeal by telephone Call or write us at the
toll-fi'ee number on your Benefit Identification card,
explanation of benefits or claim form.

Level-One Appeal

Your appeal will be reviewed and the decision made by
someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will
be considered by a health care professional.

For level-one appeals we will respond in writing with a
decision within 15 calendar days after we receive an appeal
for a required preservice or concurrent care coverage
determination, and within 30 calendar days after we receive an
appeal for a postservice coverage detennination. If more time
or information is needed to make the determination, we will
notify you in writing to request an extension of up to 15
calendar days and to specify any additional information
needed to complete the review.

You may request that the appeal process be expedited if, (a)
the time frames under this process would seriously jeopardize
your life, health or ability to regain maximum functionality or
in the opinion of your Physician would cause you severe pain
which cannot be managed without the requested services; or
(b) your appeal involves nonauthorization of an admission or
continuing inpatient Hospital stay.

CG’s Physician reviewer, in consultation with the treating
Physician, will decide if an expedited appeal is necessary.
When an appeal is expedited, CG will respond orally with a
decision within 72 hours, followed up in writing

 

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Level-Two Appeal

If you are dissatisfied with our level-one appeal decision, you
may request a second review. To initiate a level-two appeal,
follow the same process required for a level-one appeal.

Requests for a level-two appeal regarding the medical
necessity or clinical appropriateness of your issue will be
conducted by a Committee, which consists of one or more
people not previously involved in the prior decision. The
Committee will consult with at least one Physician in the same
or similar specialty as the care under consideration, as
determined by CG’s Physician reviewer. You may present
your situation to the Committee in person or by conference
call.

For required preservice and concurrent care coverage
determinations the Committee review will be completed
within 15 calendar days and for post service claims the
Committee review will be completed within 30 calendar days
If more time or information is needed to make the
determination, we will notify you in writing to request an
extension of up to 15 calendar days and to specify any
additional information needed by the Committee to complete
the review.

You will be notified in writing of the Committee’s decision
within 5 business days after the Committee meeting, and
within the Committee review time frames above if the
Committee does not approve the requested coverage

You may request that the appeal process be expedited if`, the
time frames under this process would seriously jeopardize
your life, health or ability to regain maximum functionality or
in the opinion of your Physician, would cause you severe pain
which cannot be managed without the requested services; or
your appeal involves nonauthorization of an admission or
continuing inpatient Hospital stay. CG’s Physician reviewer,
in consultation with the treating Physician, will decide if an
expedited appeal is necessary. When an appeal is expedited,
CG will respond orally with a decision within 72 hours,
followed up in writing

Independent Review Procedure

If you are not fully satisfied with the decision of CG’s level-
two appeal review regarding your Medical Necessity or
clinical appropriateness issue, you may request that your
appeal be referred to an Independent Review Organization,
The Independent Review Organization is composed of persons
who are not employed by CIGNA HealthCare, or any of its
affiliates A decision to use the voluntary level of appeal will
not affect the claimant’s rights to any other benefits under the
plan.

There is no charge for you to initiate this Independent Review
Process CG will abide by the decision of the Independent
Review Organization.

In order to request a referral to an Independent Review
Organization, the reason for the denial must be based on a
Medical Necessity or clinical appropriateness determination
by CG. Administrative, eligibility or benefit coverage limits or
exclusions are not eligible for appeal under this process

To request a review, you must notify the Appeals Coordinator
within 180 days of your receipt of CG’s level-two appeal
review denial. CG will then forward the file to the
Independent Review Organization. The Independent Review
Organization will render an opinion within 45 days

When requested and when a delay would be detrimental to
your medical condition, as determined by CG’s Physician
reviewer, the review shall be completed within 3 days The
Independent Review Program is a voluntary program arranged
by CG.

Notice of Benefit Determination on Appeal

Every notice of a determination on appeal will be provided in
writing or electronically and, if an adverse determination, will
include: the specific reason or reasons for the adverse
determination; reference to the specific plan provisions on
which the determination is based; a statement that the claimant
is entitled to receive, upon request and free of charge,
reasonable access to and copies of all documents records and
other Relevant Information as defined; a statement describing
any voluntary appeal procedures offered by the plan and the
claimant’s right to bring an action under ERISA section
502(a); upon request and free of charge a copy of any internal
rule, guideline, protocol or other similar criterion that was
relied upon in making the adverse determination regarding
your appeal, and an explanation of the scientific or clinical
judgment for a determination that is based on a Medical
Necessity, experimental treatment or other similar exclusion
or limit.

You also have the right to bring a civil action under Section
502(a) of ERISA if you are not satisfied with the decision on
review. You or your plan may have other voluntary alternative
dispute resolution options such as Mediation. One way to find
out what may be available is to contact your local U.S.
Department of Labor office and your State insurance
regulatory agency. You may also contact the Plan
Administrator.

Relevant Information

Relevant information is any document, record or other
information which: was relied upon in making the benefit
determination; was submitted, considered or generated in the
course of making the benefit determination, without regard to
whether such document, record, or other information was
relied upon in making the benefit determination; demonstrates
compliance with the administrative processes and safeguards
required by federal law in making the benefit determination;
or constitutes a statement of policy or guidance with respect to

 

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the plan concerning the denied treatment option or benefit for
the claimant’s diagnosis without regard to whether such
advice or statement was relied upon in making the benefit
determination.

Legal Action

If your plan is governed by ERISA, you have the right to bring
a civil action under section 502(a) of ERISA if you are not
satisfied with the outcome of the Appeals Procedure In most ‘
instances you may not initiate a legal action against CG until
you have completed the Level-One and Level-Two appeal
processes If your appeal is expedited, there is no need to
complete the Level-Two process prior to bringing legal action.

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COBRA Continuation Rights Under Federal
Law

For You and Your Dependents

What is COBRA Continuation Coverage?

Under federal law, you and/or your Dependents must be given
the opportunity to continue health insurance when there is a
“qualifying event” that would result in loss of coverage under
the Plan. You and/or your Dependents will be permitted to
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying
event occurred, unless you move out of that plan’s coverage
area or the plan is no longer available You and/or your
Dependents cannot change coverage options until the next
open enrollment period.

When is COBRA Continuation Available?

For you and your Dependents COBRA continuation is
available for up to 18 months from the date of the following
qualifying events if the event would result in a loss of
coverage under the Plan:

o your termination of employment for any reason, other than
gross misconduct, or

o your reduction in work hours

For your Dependents COBRA continuation coverage is
available for up to 36 months from the date of the following
qualifying events if the event would result in a loss of
coverage under the Plan:

¢ your death;

o your divorce or legal separation; or

o for a Dependent child, failure to continue to qualify as a
Dependent under the Plan.

Who is Entitled to COBRA Continuation?

Only a “qualified beneficiary” (as defined by federal law) may
elect to continue health insurance coverage A qualified
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:
you, your spouse, and your Dependent children, Each
qualified beneficiary has their own right to elect or decline
COBRA continuation coverage even if you decline or are not
eligible for COBRA continuation.

The following individuals are not qualified beneficiaries for
purposes of COBRA continuation: domestic partners same
sex spouses grandchildren (unless adopted by you),
stepchildren (unless adopted by you). Although these
individuals do not have an independent right to elect COBRA
continuation coverage, if you elect COBRA continuation
coverage for yourself`, you may also cover your Dependents
even if they are not considered qualified beneficiaries under
COBRA. However, such individuals’ coverage will terminate
when your COBRA continuation coverage terminates The
sections titled “Secondary Qualifying Events” and “Medicare
Extension For Your Dependents” a.re not applicable to these
individuals

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Secondary Qualifying Events

If, as a result of your termination of employment or reduction
in work hours, your Dependent(s) have elected COBRA
continuation coverage and one or more Dependents experience
another COBRA qualifying event, the affected Dependent(s)
may elect to extend their COBRA continuation coverage for
an additional 18 months (7 months if the secondary event
occurs within the disability extension period) for a maximum
of 36 months from the initial qualifying event The second
qualifying event must occur before the end of the initial 18
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no
circumstances will COBRA continuation coverage be
available for more than 36 months from the initial qualifying
event Secondary qualifying events are: your death; your
divorce or legal separation; or, for a Dependent child, failure
to continue to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your
termination of employment or reduction in work hours, you or
one of your Dependents is determined by the Social Security
Administration (SSA) to be totally disabled under title II or
XVI of the SSA, you and all of your Dependents who have
elected COBRA continuation coverage may extend such
continuation for an additional ll months for a maximum of
29 months from the initial qualifying event

 

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To qualify for the disability extension, all of the following
requirements must be satisfied:

1. SSA must determine that the disability occurred prior to or
within 60 days after the disabled individual elected COBRA
continuation coverage; and

2. A copy of the written SSA determination must be provided
to the Plan Administrator within 60 calendar days after the
date the SSA determination is made AND before the end of
the initial 18-month continuation period.

If the SSA later determines that the individual is no longer
disabled, you must notify the Plan Administrator within 30
days after the date the final determination is made by SSA.
The ll-month disability extension will terminate for all
covered persons on the first day of the month that is more than
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.

All causes for “Termination of COBRA Continuation” listed
below will also apply to the period of disability extension.

Medicare Extension for Your Dependents

When the qualifying event is your termination of employment
or reduction in work hours and you became enrolled in
Medicare (Part A, Part B or both) within the 18 months before
the qualifying event, COBRA continuation coverage for your
Dependents will last for up to 36 months after the date you
became enrolled in Medicare. Your COBRA continuation
coverage will last for up to 18 months fi'om the date of your
termination of employment or reduction in work hours

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Termination of COBRA Continuation

COBRA continuation coverage will be terminated upon the
occurrence of any of the following:

o the end of the COBRA continuation period of 18, 29 or 36
months as applicable;

o failure to pay the required premium within 30 calendar days
after the due date;

o cancellation of the Employer’s policy with CIGNA;

o after electing COBRA continuation coverage, a qualified
beneficiary enrolls in Medicare (Part A, Part B, or both);

o after electing COBRA continuation coverage, a qualified
beneficiary becomes covered under another group health
plan, unless the qualified beneficiary has a condition for
which the new plan limits or excludes coverage under a pre-
existing condition provision, In such case coverage will
continue until the earliest of: (a) the end of the applicable
maximum period; (b) the date the pre-existing condition

provision is no longer applicable; or (c) the occurrence of an
event described in one of the first three bullets above; or

o any reason the Plan would terminate coverage of a
participant or beneficiary who is not receiving continuation
coverage (e.g., fraud).

Moving Out of Employer’s Service Area or Elimination of
a Service Area

If you and/or your Dependents move out of the Employer’s
service area or the Employer eliminates a service area in your
location, your COBRA continuation coverage under the plan
will be limited to out-of-network coverage only. In-network
coverage is not available outside of the Employer’s service
area. If the Employer offers another benefit option through
CIGNA or another carrier which can provide coverage in your
location, you may elect COBRA continuation coverage under
that option.

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Employer’s Notification Requirements

Your Employer is required to provide you and/or your
Dependents with the following notices:

o An initial notification of COBRA continuation rights must
be provided within 90 days after your (or your spouse’s)
coverage under the Plan begins (or the Plan first becomes
subject to COBRA continuation requirements, if later). If
you and/or your Dependents experience a qualifying event
before the end of that 90-day period, the initial notice must
be provided within the time fi'ame required for the COBRA
continuation coverage election notice as explained below.

o A COBRA continuation coverage election notice must be
provided to you and/or your Dependents within the
following timeframes:

(a) if the Plan provides that COBRA continuation coverage
and the period within which an Employer must notify
the Plan Administrator of a qualifying event starts upon
the loss of coverage, 44 days after loss of coverage
under the Plan;

(b) if the Plan provides that COBRA continuation coverage
and the period within which an Employer must notify
the Plan Administrator of a qualifying event starts upon
the occurrence of a qualifying event, 44 days after the
qualifying event occurs; or

(c) in the case of a multi-employer plan, no later than 14
days after the end of the period in which Employers
must provide notice of a qualifying event to the Plan
Administrator.

 

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How to Elect COBRA Continuation Coverage

The COBRA coverage election notice will list the individuals
who are eligible for COBRA continuation coverage and
inform you of the applicable premium. The notice will also
include instructions for electing COBRA continuation
coverage You must notify the Plan Administrator of your
election no later than the due date stated on the COBRA
election notice If a written election notice is required, it must
be post-marked no later than the due date stated on the
COBRA election notice If you do not make proper
notification by the due date shown on the notice, you and your
Dependents will lose the right to elect COBRA continuation
coverage If you reject COBRA continuation coverage before
the due date, you may change your mind as long as you
furnish a completed election form before the due date

Each qualified beneficiary has an independent right to elect
COBRA continuation coverage Continuation coverage may
be elected for only one, several, or for all Dependents who are
qualified beneficiaries Parents may elect to continue coverage
on behalf of their Dependent children, You or your spouse
may elect continuation coverage on behalf of all the qualified
beneficiaries You are not required to elect COBRA
continuation coverage in order for your Dependents to elect
COBRA continuation.

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How Much Does COBRA Continuation Coverage Cost?

Each qualified beneficiary may be required to pay the entire
cost of continuation coverage The amount may not exceed
102% of the cost to the group health plan (including both
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The
premium during the 11-month disability extension may not
exceed 150% of the cost to the group health plan (including
both employer and employee contributions) for coverage of a
similarly situated active Employee or family member. For
example:

If the Employee alone elects COBRA continuation coverage,
the Employee will be charged 102% (or 150%) of the active
Employee premium. If the spouse or one Dependent child
alone elects COBRA continuation coverage, they will be
charged 102% (or 150%) of the active Employee premium. If
more than one qualified beneficiary elects COBRA
continuation coverage, they will be charged 102% (or 150%)
of the applicable family premium.

When and How to Pay COBRA Premiums
F irst payment for COBRA continuation

If you elect COBRA continuation coverage, you do not have
to send any payment with the election forrn. However, you

must make your first payment no later than 45 calendar days
after the date of your election, (This is the date the Election
Notice is postmarked, if mailed.) If you do not make your first
payment within that 45 days, you will lose all COBRA
continuation rights under the Plan.

Subsequent payments

After you make your first payment for COBRA continuation
coverage, you will be required to make subsequent payments
of the required premium for each additional month of
coverage Payment is due on the first day of each month. If
you make a payment on or before its due date, your coverage
under the Plan will continue for that coverage period without
any break.

Grace periods for subsequent payments

Although subsequent payments are due by the first day of the
month, you will be given a grace period of 30 days after the
first day of the coverage period to make each monthly
payment Your COBRA continuation coverage will be
provided for each coverage period as long as payment for that
coverage period is made before the end of the grace period for
that payment However, if your payment is received after the
due date, your coverage under the Plan may be suspended
during this time Any providers who contact the Plan to
confirm coverage during this time may be informed that
coverage has been suspended. If payment is received before
the end of the grace period, your coverage will be reinstated
back to the beginning of the coverage period. This means that
any claim you submit for benefits while your coverage is
suspended may be denied and may have to be resubmitted
once your coverage is reinstated. If you fail to make a
payment before the end of the grace period for that coverage
period, you will lose all rights to COBRA continuation
coverage under the Plan.

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You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience one of the following

qualifying events you must notify the Plan Administrath

within 60 calendar days after the later of the date the

qualifying event occurs or the date coverage would cease as a

result of the qualifying event:

o Your divorce or legal separation;

o Your child ceases to qualify as a Dependent under the Plan;
or

o The occurrence of a secondary qualifying event as discussed
under “Secondary Qualifying Events” above (this notice
must be received prior to the end of the initial 18- or 29-
month COBRA period).

 

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(Also refer to the section titled “Disability Extension” for
additional notice requirements.)

Notice must be made in writing and must include: the name of
the Plan, name and address of the Employee covered under the
Plan, name and address(es) of the qualified beneficiaries
affected by the qualifying event; the qualifying event; the date
the qualifying event occurred; and supporting documentation
(e.g., divorce decree, birth certificate disability determination,
etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth,
adoption or placement for adoption while your coverage is
being continued, you may cover such Dependent under your
COBRA continuation coverage However, only your newborn
or adopted Dependent child is a qualified beneficiary and may
continue COBRA continuation coverage for the remainder of
the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event.
COBRA coverage for your Dependent spouse and any
Dependent children who are not your children (e.g.,
stepchildren or grandchildren) will cease on the date your
COBRA coverage ceases and they are not eligible for a
secondary qualifying event.

COBRA Continuation for Retirees Following Employer’s
Bankruptcy

If you are covered as a retiree, and a proceeding in bankruptcy
is filed with respect to the Employer under Title ll of the
United States Code, you may be entitled to COBRA
continuation coverage If the bankruptcy results in a loss of
coverage for you, your Dependents or your surviving spouse
within one year before or after such proceeding, you and your
covered Dependents will become COBRA qualified
beneficiaries with respect to the bankruptcy. You will be
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will
be entitled to COBRA continuation coverage for up to 36
months following your death. However, COBRA continuation
coverage will cease upon the occurrence of any of the events
listed under “Terrnination of COBRA Continuation” above

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Trade Act of 2002

The Trade Act of 2002 created a new tax credit for certain
individuals who become eligible for trade adjustment
assistance and for certain retired Employees who are receiving
pension payments fi'om the Pension Benefit Guaranty
Corporation (PBGC) (eligible individuals). Under the new tax
provisions eligible individuals can either take a tax credit or
get advance payment of 65% of premiums paid for qualified

health insurance, including continuation coverage lf you have
questions about these new tax provisions you may call the
Health Coverage Tax Credit Customer Contact Center toll-free
at 1-866-628-4282. 'I`DD/TYY callers may call toll-free at 1-
866-626-4282. More information about the Trade Act is also
available at www.doleta.gov/tradeact/2002act index.cmf.

In addition, if you initially declined COBRA continuation
coverage and, within 60 days after your loss of coverage under
the Plan, you are deemed eligible by the U.S. Department of
Labor or a state labor agency for trade adjustment assistance
(TAA) benefits and the tax credit, you may be eligible for a
special 60 day COBRA election period. The special election
period begins on the first day of the month that you become
TAA-eligible If you elect COBRA coverage during this
special election period, COBRA coverage will be effective on
the first day of the special election period and will continue for
18 months unless you experience one of the events discussed
under “Termination of COBRA Continuation” above
Coverage will not be retroactive to the initial loss of coverage
If you receive a determination that you are TAA-eligible, you
must notify the Plan Administrator immediately.

Interaction With Other Continuation Benefits

You may be eligible for other continuation benefits under state
law. Refer to the Terrnination section for any other
continuation benefits

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ERISA Required Information
The name of the Plan is:
Estes Express Lines Flexible Benefits Plan

The name, address ZIP code and business telephone number
of the sponsor of the Plan is:

Estes Express Lines
3901 West Broad Street
Richmond, VA 23230
(804)353-1900

Employer identification Plan Number
Number (EIN)
XX-XXXXXXX 505

The name, address ZIP code and business telephone number
of the Plan Administrator is:

Employer named above

The narne, address and ZIP code of the person designated as
agent for the service of legal process is:

Employer named above

 

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The office designated to consider the appeal of denied claims
is:

The CG Claim Office responsible for this Plan
The cost of the Plan is shared by Employee and Employer.
The Plan's fiscal year ends on 12/31.

The preceding pages set forth the eligibility requirements and
benefits provided for you under this Plan.

Plan Trustees

A list of any Trustees of the Plan, which includes name title
and address is available upon request to the Plan
Administrator.

Plan Type
The plan is a healthcare benefit plan.
Collective Bargaining Agreements

You may contact the Plan Administrath to determine whether
the Plan is maintained pursuant to one or more collective
bargaining agreements and if a particular Employer is a
sponsor. A copy is available for examination from the Plan
Administrator upon written request

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Discretionar'y Authority

The Plan Administrath delegates to CG the discretionary
authority to interpret and apply plan terms and to make factual
determinations in connection with its review of claims under
the plan. Such discretionary authority is intended to include,
but not limited to, the determination of the eligibility of
persons desiring to enroll in or claim benefits under the plan,
the determination of whether a person is entitled to benefits
under the plan, and the computation of any and all benefit
payments The Plan Administrator also delegates to CG the
discretionary authority to perform a full and fair review, as
required by ERISA, of each claim denial which has been
appealed by the claimant or his duly authorized representative

Plan Modification, Amendment and Termination

The Employer as Plan Sponsor reserves the right to, at any
time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered
by the Plan, to amend or eliminate any other plan term or
condition, and to terminate the whole plan or any part of it.
The procedure by which benefits may be changed or
terminated, by which the eligibility of classes of employees
may be changed or terminated, or by which part or all of the
Plan may be terminated, is contained in the Employer’s Plan
Document, which is available for inspection and copying from
the Plan Administrath designated by the Employer. No

consent of any participant is required to terminate modify,
amend or change the Plan.

Tennination of the Plan together with termination of the
insurance policy(s) which funds the Plan benefits will have no
adverse effect on any benefits to be paid under the policy(s)
for any covered medical expenses incurred prior to the date
that policy(s) terminates Likewise, any extension of benefits
under the policy(s) due to you or your Dependent’s total
disability which began prior to and has continued beyond the
date the policy(s) terminates will not be affected by the Plan
termination. Rights to purchase limited amounts of life and
medical insurance to replace part of the benefits lost because
the policy(s) terminated may arise under the terms of the
policy(s). A subsequent Plan termination will not affect the
extension of benefits and rights under the policy(s).

Your coverage under the Plan’s insurance policy(s) will end
on the earliest of the following dates:

o the date you leave Active Service (or later, as explained in
the Tennination Section);

~ the date you are no longer in an eligible class;
o if the Plan is contributory, the date you cease to contribute;
o the date the policy(s) tenninates.

See your Plan Administrator to determine if any extension of
benefits or rights are available to you or your Dependents
under this policy(s). No extension of benefits or rights will be
available solely because the Plan terminates

Statement of Rights

As a participant in the plan you are entitled to certain rights
and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan
participants shall be entitled to:

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Receive Information About Your Plan and Benefits

~ examine, without charge at the Plan Administrator’s office
and at other specified locations such as worksites and union
halls all documents governing the plan, including insurance
contracts and collective bargaining agreements and a copy
of the latest annual report (Form 5500 Series) filed by the
plan with the U.S. Department of Labor and available at the
Public Disclosure room of the Employee Benefits Security
Administration,

o obtain, upon written request to the Plan Administi'ator,
copies of documents governing the Plan, including
insurance contracts and collective bargaining agreements
and a copy of the latest annual report (Form 5500 Series)
and updated summary plan description. The administrator
may make a reasonable charge for the copies

 

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o receive a summary of the Plan’s annual financial report. The
Plan Administrator is required by law to furnish each person
under the Plan with a copy of this summary financial report

Continue Group Health Plan Coverage

o continue health care coverage for yourself`, your spouse or
Dependents if there is a loss of coverage under the Plan as a
result of a qualifying event You or your Dependents may
have to pay for such coverage Review this summary plan
description and the documents governing the Plan on the
rules governing your federal continuation coverage rights

o reduction or elimination of exclusionary periods of coverage
for preexisting conditions under your group health plan, if
you have creditable coverage from another plan. You should
be provided a certificate of creditable coverage, free of
charge from your group health plan or health insurance
issuer when you lose coverage under the plan, when you
become entitled to elect federal continuation coverage,
when your federal continuation coverage ceases if you
request it before losing coverage, or if you request it up to
24 months after losing coverage Without evidence of
creditable coverage, you may be subject to a preexisting
condition exclusion for 12 months (18 months for late
enrollees) after your enrollment date in your coverage

Prudent Actions by Plan Fiduciaries

In addition to creating rights for plan participants ERISA
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries No one, including your employer, your
union, or any other person may fire you or otherwise
discriminate against you in any way to prevent you from
obtaining a welfare benefit or exercising your rights under
ERISA. If your claim for a welfare benefit is denied or
ignored you have a right to know why this was done, to obtain
copies of documents relating to the decision without charge
and to appeal any denial, all within certain time schedules

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Enforce Your Rights

Under ERISA, there are steps you can take to enforce the
above rights. For instance if you request a copy of plan
documents or the latest annual report from the plan and do not
receive them within 30 days, you may file suit in a federal
court In such a case, the court may require the plan
administrator to provide the materials and pay you up to $110
a day until you receive the materials unless the materials were
not sent because of reasons beyond the control of the
administrator, If you have a claim for benefits which is denied

or ignored, in whole or in part, you may file suit in a state or
federal court

In addition, if you disagree with the plan’s decision or lack
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in
federal court If it should happen that plan fiduciaries misuse
the plan’s money, or if you are discriminated against for
asserting your rights you may seek assistance fi'om the U.S.
Department of Labor, or you may file suit in a federal court
The court will decide who should pay court costs and legal
fees lf you are successful the court may order the person you
have sued to pay these costs and fees If you lose, the court
may order you to pay these costs and fees for example if it
finds your claim is frivolous

Assistance with Your Questions

lf you have any questions about your plan, you should contact
the plan administrator, If you have any questions about this
statement or about your rights under ERISA, or if you need
assistance in obtaining documents from the plan administrator,
you should contact the nearest office of the Employee Benefits
Security Administration, U.S. Department of Labor listed in
your telephone directory or the Division of Technical
Assistance and Inquiries, Employee Benefits Security
Administration, U.S. Department of Labor, 200 Constitution
Avenue N.W., Washington, D.C. 20210. You may also obtain
certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the
Employee Benefits Security Administration.

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Definitions

Active Service

You will be considered in Active Service:

o on any of your Employer's scheduled work days if you are
performing the regular duties of your work on a full-time
basis on that day either at your Employer's place of business

or at some location to which you are required to travel for
your Employer's business

o on a day which is not one of your Employer's scheduled
work days if you were in Active Service on the preceding
scheduled work day.

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Bed and Board

The term Bed and Board includes all charges made by a
Hospital on its own behalf for room and meals and for all
general services and activities needed for the care of registered
bed patients

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Charges

The term "charges" means the actual billed charges; except
when the provider has contracted directly or indirectly with
CG for a different amount

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Chiropractic Care

The term Chiropractic Care means the conservative
management of neuromusculoskeletal conditions through
manipulation and ancillary physiological treatment rendered to
specific joints to restore motion, reduce pain and improve
function.

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Complications of Pregnancy - For Medical Insurance

Expenses will be considered to be incurred for Complications
of Pregnancy if they are incurred for: (a) an extrauterine
pregnancy; (b) a pregnancy which ends by Caesarean section
or miscarriage (other than elective abortion); or (c) a Sickness
resulting from pregnancy.

DFSl9

Custodial Services

Any services that are of a sheltering, protective or
safeguarding nature Such services may include a stay in an
institutional setting, at-home care, or nursing services to care
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living
Custodial care also can provide medical services, given mainly
to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
for himself or herself. Custodial Services include but are not
limited to:

o Services related to watching or protecting a person;

o Services related to performing or assisting a person in
performing any activities of daily living, such as: (a)

walking, (b) grooming, (c) bathing, (d) dressing, (e) getting
in or out of bed, (f) toileting, (g) eating, (h) preparing foods
or (i) taking medications that can be self administered, and

o Services not required to be performed by trained or skilled
medical or paramedical personnel.

DFSlSlZ

Dependent

Dependents are:

v your lawful spouse; and

v any child of yours who is
~ less than 26 years old.

o 26 or more years old, unmarried, and primarily supported
by you and incapable of self-sustaining employment by
reason of mental or physical disability which arose while
the child was covered as a Dependent under this Plan, or
while covered as a dependent under a prior plan with no
break in coverage

Proof of the child's condition and dependence must be
submitted to CG within 31 days after the date the child
ceases to qualify above From time to time but not more
frequently than once a year, CG may require proof of the
continuation of such condition and dependence

A child includes a legally adopted child. It also includes a
stepchild or a foster child, or a child for whom you are the
legal guardian.

Benefits for a Dependent child will continue until the last
day before your Dependent's birthday, in the year in which
the limiting age is reached.

Anyone who is eligible as an Employee will not be
considered as a Dependent

No one may be considered as a Dependent of more than one
Employee

Dependent children over the age of 19 years and under the age
of 26 years are not eligible for coverage if they are eligible for
coverage through their own employer. Any Employee electing
to cover a Dependent over the age of 19 will be required to
complete an affidavit to attest that coverage is not available
through the Dependent's own employer.

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Emergency Services

Emergency services are medical, psychiatric, surgical,
Hospital and related health care services and testing, including
ambulance service, which are required to treat a sudden,

 

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unexpected onset of a bodily Injury or serious Sickness which
could reasonably be expected by a prudent layperson to result
in serious medical complications loss of life or permanent
impairment to bodily functions in the absence of immediate
medical attention. Examples of emergency situations include
uncontrolled bleeding, seizures or loss of consciousness
shortness of breath, chest pains or severe squeezing sensations
in the chest, suspected overdose of medication or poisoning,
sudden paralysis or slurred speech, bums cuts and broken
bones. The symptoms that led you to believe you needed
emergency care as coded by the provider and recorded by the
Hospital on the UB92 claim form, or its successor, or the final
diagnosis whichever reasonably indicated an emergency
medical condition, will be the basis for the determination of
coverage provided such symptoms reasonably indicate an
emergency.

DFSl§33

Employee

The term Employee means a full-time employee of the
Employer who is currently in Active Service The term does
not include employees who are part-time or temporary or who
normally work less than 40 hours a week for the Employer.

DFSl427

Employer

The term Employer means the plan sponsor self-insuring the
benefits described in this booklet, on whose behalf CG is
providing claim administration services

DFSl§95

Essential Health Benefits

Essential health benefits means to the extent covered under
the plan, expenses incurred with respect to covered services in
at least the following categories ambulatory patient services,
emergency services, hospitalization, maternity and newborn
care, mental health and substance use disorder services
including behavioral health treatment, prescription drugs
rehabilitative and habilitative services and devices laboratory
services preventive and wellness services and chronic disease
management and pediatric services including oral and vision
care.

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Expense Incurred

An expense is incurred when the service or the supply for
which it is incurred is provided.

DF560

Free-Standing Surgical Facility

The term Free-standing Surgical Facility means an institution
which meets all of the following requirements

» it has a medical staff of Physicians Nurses and licensed
anesthesiologists

o it maintains at least two operating rooms and one
recovery room;

o it maintains diagnostic laboratory and x-ray facilities;
o it has equipment for emergency care;

» it has a blood supply;

o it maintains medical records;

o it has agreements with Hospitals for immediate
acceptance of patients who need Hospital Confinement
on an inpatient basis; and

o it is licensed in accordance with the laws of the
appropriate legally authorized agency.

DFSSBZ

Hospice Care Program
The term Hospice Care Program means:

» a coordinated, interdisciplinary program to meet the
physical, psychological, spiritual and social needs of dying
persons and their families;

o a program that provides palliative and supportive
medical, nursing and other health services through home
or inpatient care during the illness;

o a program for persons who have a Terminal Illness and
for the families of those persons

DFS70

 

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Hospice Care Services

The term Hospice Care Services means any services provided
by: (a) a Hospital, (b) a Skilled Nursing Facility or a similar
institution, (c) a Home Health Care Agency, (d) a Hospice
Facility, or (e) any other licensed facility or agency under a
Hospice Care Program.

DFSS99

Hospice Facility

The term Hospice Facility means an institution or part of it
which:

o primarily provides care for Terminally lll patients;
~ is accredited by the National Hospice Organization;
~ meets standards established by CG; and

o fulfills any licensing requirements of the state or locality
in which it operates

DFS72

Hospital
The term Hospital means:

o an institution licensed as a hospital, which: (a) maintains on
the premises all facilities necessary for medical and
surgical treatment; (b) provides such treatment on an
inpatient basis for compensation, under the supervision of
Physicians; and (c) provides 24-hour service by Registered
Graduate Nurses;

o an institution which qualifies as a hospital, a psychiatric
hospital or a tuberculosis hospital, and a provider of
services under Medicare if such institution is accredited as
a hospital by the Joint Commission on the Accreditation of
Healthcare Organizations; or

o an institution which: (a) specializes in treatment of Mental
Health and Substance Abuse or other related illness (b)
provides residential treatment programs; and (c) is licensed
in accordance with the laws of the appropriate legally
authorized agency.

The term Hospital will not include an institution which is
primarily a place for rest, a place for the aged, or a nursing
home

DFSl 693

Hospital Confinement or Confined in a Hospital
A person will be considered Confined in a Hospital if he is:

~ a registered bed patient in a Hospital upon the
recommendation of a Physician;

~ receiving treatment for Mental Health and Substance Abuse
Services in a Partial Hospitalization program;

o receiving treatment for Mental Health and Substance Abuse
Services in a Mental Health or Substance Abuse Residential
Treatment Center.

DFSlSlS

Injury
The term Injury means an accidental bodily injury.

DFSl47

Maintenance Treatment
The term Maintenance Treatment means:

o treatment rendered to keep or maintain the patient's current
status

DFS 1650

Maximum Reimbursable Charge - Medical

The Maximum Reimbursable Charge for covered services is
determined based on the lesser of:

o the provider’s normal charge for a similar service or supply;
or

~ a policyholder-selected percentile of charges made by
providers of such service or supply in the geographic area
where it is received as compiled in a database selected by
CG.

The percentile used to determine the Maximum Reimbursable
Charge is listed in The Schedule.

The Maximum Reimbursable Charge is subject to all other
benefit limitations and applicable coding and payment
methodologies determined by CG. Additional information
about how CG determines the Maximum Reimbursable
Charge is available upon request

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Medicaid

The term Medicaid means a state program of medical aid for
needy persons established under Title XIX of the Social
Security Act of 1965 as amended.

DFS l 92

Medically Necessary/Medical Necessity

Medically Necessary Covered Services and Supplies are those

determined by the Medical Director to be:

~ required to diagnose or treat an illness injury, disease or its
symptoms;

~ in accordance with generally accepted standards of medical
practice;

o clinically appropriate in terms of type frequency, extent,
site and duration;

» not primarily for the convenience of the patient, Physician
or other health care provider; and

~ rendered in the least intensive setting that is appropriate for
the delivery of the services and supplies Where applicable
the Medical Director may compare the cost-effectiveness of
alternative services, settings or supplies when determining
least intensive setting

DF51813

Medicare

The term Medicare means the program of medical care
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.

DFS 149

Necessary Services and Supplies
The term Necessary Services and Supplies includes:

~ any charges except charges for Bed and Board, made by a
Hospital on its own behalf for medical services and supplies
actually used during Hospital Confinement;

~ any charges by whomever made for licensed ambulance
service to or fi'om the nearest Hospital where the needed
medical care and treatment can be provided; and

~ any charges by whomever made, for the administration of
anesthetics during Hospital Confinement,

The term Necessary Services and Supplies will not include
any charges for special nursing fees dental fees or medical
fees

DFSlSl

Nurse

The term Nurse means a Registered Graduate Nurse, a
Licensed Practical Nurse or a Licensed Vocational Nurse who
has the right to use the abbreviation "R.N.," "L.P.N." or
"L.V.N."

DFS l 55

Other Health Care Facility

The term Other Health Care Facility means a facility other
than a Hospital or hospice facility. Examples of Other Health
Care Facilities include, but are not limited to, licensed skilled
nursing facilities rehabilitation Hospitals and subacute
facilities

DF51686

Other Health Professional

The term Other Health Professional means an individual other
than a Physician who is licensed or otherwise authorized under
the applicable state law to deliver medical services and
supplies Other Health Professionals include, but are not
limited to physical therapists registered nurses and licensed
practical nurses

DF51685

Participating Pharmacy

The term Participating Pharmacy means a retail pharmacy
with which Connecticut General Life Insurance Company has
contracted to provide prescription services to insureds; or a
designated mail-order pharmacy with which CG has
contracted to provide mail-order prescription services to
insureds

DFSl937

Participating Provider

The term Participating Provider means a hospital, a
Physician or any other health care practitioner or entity that

 

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has a direct or indirect contractual arrangement with CIGNA
to provide covered services with regard to a particular plan
under which the participant is covered.

DFSl910

Patient Protection and Af`f`ordable Care Act of 2010
(PPACA)

Patient Protection and Affordable Care Act of 2010 means the
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education
Reconciliation Act of 2010 (Public Law 111-152.)

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Pharmacy

The term Pharmacy means a retail pharmacy, or a mail-order
pharmacy.

DFSl934

Pharmacy & Therapeutics (P & T) Committee

A committee of CG Participating Providers Medical Directors
and Pharmacy Directors which regularly reviews Prescription
Drugs and Related Supplies for safety and efficacy. The P&T
Committee evaluates Prescription Drugs and Related Supplies
for potential addition to or deletion from the Prescription Drug
List and may also set dosage and/or dispensing limits on
Prescription Drugs and Related Supplies

DFSl9l9

Physician

The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is
licensed to prescribe and administer drugs or to perform
surgery. It will also include any other licensed medical
practitioner whose services are required to be covered by law
in the locality where the policy is issued if he is:

o operating within the scope of his license; and

o performing a service for which benefits are provided under
this plan when performed by a Physician.

DF8164

Prescription Drug

Prescription Drug means; (a) a drug which has been approved
by the Food and Drug Administration for safety and efficacy;
(b) certain drugs approved under the Drug Efficacy Study
Implementation review; or (c) drugs marketed prior to 1938
and not subject to review, and which can, under federal or
state law, be dispensed only pursuant to a Prescription Order.

DFS l 708

Prescription Drug List

Prescription Drug List means a listing of approved
Prescription Drugs and Related Supplies The Prescription
Drugs and Related Supplies included in the Prescription Drug
List have been approved in accordance with parameters
established by the P&T Committee. The Prescription Drug
List is regularly reviewed and updated.

DFS l 924

Prescription Order

Prescription Order means the lawful authorization for a
Prescription Drug or Related Supply by a Physician who is
duly licensed to make such authorization within the course of
such Physician’s professional practice or each authorized refill
thereof.

DFSl7ll

Preventive Treatment
The term Preventive Treatment means:
o treatment rendered to prevent disease or its recurrence

DFSlGSZ

Primary Care Physician

The term Primary Care Physician means a Physician: (a) who
qualifies as a Participating Provider in general practice,
internal medicine family practice or pediatrics; and (b) who
has been selected by you, as authorized by the Provider
Organization, to provide or arrange for medical care for you or
any of your insured Dependents

DF8622

 

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Psychologist

The term Psychologist means a person who is licensed or
certified as a clinical psychologist Where no licensure or
certification exists the term Psychologist means a person who
is considered qualified as a clinical psychologist by a
recognized psychological association. It will also include any
other licensed counseling practitioner whose services are
required to be covered by law in the locality where the policy
is issued if he is:

¢ operating within the scope of his license; and

o performing a service for which benefits are provided under
this plan when performed by a Psychologist

DFSl70

Related Supplies

Related Supplies means diabetic supplies (insulin needles and
syringes lancets and glucose test strips), needles and syringes
for injectables covered under the pharmacy plan, and spacers

for use with oral inhalers

DFSl710

Review Organization

The term Review Organization refers to an affiliate of CG or
another entity to which CG has delegated responsibility for
performing utilization review services The Review
Organization is an organization with a staff of clinicians which
may include Physicians Registered Graduate Nurses licensed
mental health and substance abuse professionals and other
trained staff members who perform utilization review services

DFSl688

Sickness ~ For Medical Insurance

The term Sickness means a physical or mental illness It also
includes pregnancy for you or your spouse for you or your
spouse and complications of pregnancy for your dependent
child use Expenses incurred for routine Hospital and pediatric
care of a newborn child prior to discharge from the Hospital
nursery will be considered to be incurred as a result of
Sickness

DFSS31M

Skilled Nursing Facility

The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:

o physical rehabilitation on an inpatient basis; or
o skilled nursing and medical care on an inpatient basis;

but only if that institution: (a) maintains on the premises all
facilities necessary for medical treatment; (b) provides such
treatment, for compensation, under the supervision of
Physicians; and (c) provides Nurses' services

DFSl93

Specialty Medication

The term Specialty Medication means high cost medications
which are used to treat rare and chronic conditions which
include, but are not limited to, multiple sclerosis hepatitis C
or rheumatoid arthritis

GM6000 DFSZO$O

Terminal Illness

A Tenninal Illness will be considered to exist if a person
becomes tenninally ill with a prognosis of six months or less
to live as diagnosed by a Physician.

DFSl97

Urgent Care

Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by CG, in accordance with generally
accepted medical standards to have been necessary to treat a
condition requiring prompt medical attention. This does not
include care that could have been foreseen before leaving the
immediate area where you ordinarily receive and/or were
scheduled to receive services Such care includes, but is not
limited to, dialysis scheduled medical treatments or therapy,
or care received after a Physician’s recommendation that the
insured should not travel due to any medical condition.

DFS 1534

 

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